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                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA

    ELI LILLY AND COMPANY,
    Lilly Corporate Center
    893 Delaware Street
    Indianapolis, IN 46225,
    and
    LILLY USA, LLC,
    1500 South Harding Street
    Indianapolis, IN 46221,
                      Plaintiffs,
          v.
    XAVIER BECERRA, in his official capacity as
    Secretary of Health & Human Services,
    Office of the Secretary                          No. 1:21-cv-81-SEB-MJD
    200 Independence Avenue, S.W.
    Washington, D.C. 20201,                        Document Electronically Filed
    DANIEL J. BARRY, in his official capacity as
    Acting General Counsel of Health & Human
    Services
    Office of the General Counsel
    200 Independence Avenue, S.W.
    Washington, D.C. 20201,
    UNITED STATES DEPARTMENT OF
    HEALTH AND HUMAN SERVICES
    200 Independence Avenue, S.W.
    Washington D.C. 20201,
    DIANA ESPINOSA, in her official capacity as
    Acting Administrator of the Health Resources
    and Services Administration
    5600 Fishers Lane,
    Rockville, MD 20852,
    and
    HEALTH RESOURCES AND SERVICES
    ADMINISTRATION
    5600 Fishers Lane,
    Rockville, MD 20852,
                  Defendants.

                            SECOND AMENDED COMPLAINT
                      FOR DECLARATORY AND INJUNCTIVE RELIEF
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          This case concerns the lawful scope of the 340B Drug Pricing Program (“340B Program”

   or “Program”), which Congress created in 1992 to expand low-income Americans’ access to

   affordable prescription medicines. See Veterans Health Care Act of 1992, Pub. L. No. 102-585,

   § 602(a), 106 Stat. 4943, 4967 (adding section 340B to the Public Health Service Act). Under the

   340B statute, pharmaceutical manufacturers “must” offer steep discounts on their products to

   certain “covered entities.” 42 U.S.C. § 256b(a)(1); see also id. § 256b(a)(4), (b)(1); id. § 1396r-

   8(a)(1), (5). And while manufacturers are not formally required to participate in the Program, they

   have little practical choice but to “opt in[]”: “Manufacturers’ eligibility to participate in State

   Medicaid [and federal Medicare] programs”—which not only “touch[] the lives of nearly all

   Americans,” Azar v. Allina Health Servs., 139 S. Ct. 1804, 1808 (2019), but make up a significant

   portion of manufacturers’ annual revenues—“is conditioned on their” participation in the Program.

   Astra U.S.A., Inc. v. Santa Clara Cnty., 563 U.S. 110, 113 (2011).

          Cognizant of the constitutional limits on forcing private parties to effectively subsidize

   other private parties, Congress made clear in the 340B statute that only “covered entities”—a

   narrowly circumscribed class that Congress defined to be limited to 15 specifically enumerated

   types of non-profit healthcare providers—could demand these steep discounts. Entities not

   included on Congress’s list of covered entities, such as for-profit hospitals or big businesses like

   Walgreens and CVS (the latter of which are referred to in this context as “contract pharmacies”),

   had no legal basis to demand to receive prescription medications or other product from

   manufacturers at 340B prices. See 42 U.S.C. § 256b(a)(4).

          Yet the government claims that things are different now. Even though nothing about the

   statutory limitation regarding covered entities has changed, the U.S. Department of Health and

   Human Services (“HHS”) Office of the General Counsel (“OGC”) “released an advisory opinion”
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   on December 30, 2020, “concluding that drug manufacturers are required to deliver discounts

   under the 340B Drug Pricing Program [ ] on covered outpatient drugs when contract pharmacies

   are acting as agents of 340B covered entities.” U.S. Dep’t of Health and Human Servs., HHS

   Releases Advisory Opinion Clarifying that 340B Discounts Apply to Contract Pharmacies (Dec.

   30, 2020), https://bit.ly/38Qh0lB; see U.S. Dep’t of Health & Human Servs. Office of the General

   Counsel, Advisory Opinion 20-06 on Contract Pharmacies under the 340B Program, at 1 (Dec.

   30, 2020) (“December 30 Decision”) (“We conclude” that “a drug manufacturer in the 340B

   Program is obligated to deliver its covered outpatient drugs to those contract pharmacies and to

   charge the covered entity no more than the 340B ceiling price for those drugs” whenever a

   contract pharmacy acts as a covered entity’s “agent.” (emphasis added)), https://bit.ly/357nqfk.

          That is no small matter. Unlike the 15 types of entities Congress enumerated in the statute,

   contract pharmacies do not exist to serve vulnerable populations, and they rarely pass along any

   340B price savings to the patients who purchase 340B drugs. See U.S. Gov’t Accountability Office

   (“GAO”), Discount Drug Program: Federal Oversight of Compliance at 340B Contract

   Pharmacies Needs Improvement, GAO-18-480 (“2018 GAO Report”), at 10-13 (June 2018),

   https://bit.ly/3kJ7eGa; Aaron Vandervelde et al., For-Profit Pharmacy Participation in the 340B

   Program, at 3 (Oct. 2020), https://bit.ly/2XryAY5. Indeed, when Defendant the Health Resources

   and Services Administration (“HRSA”), which administers the Program, first allowed covered

   entities to enter into an unlimited number of contract pharmacy arrangements for 340B drugs back

   in 2010 (but did not require manufacturers to honor those arrangements, because nothing in the

   statute authorizes the government to impose such a requirement), contract pharmacies began

   “generat[ing] revenue” to the tune of hundreds of millions of dollars per year by perverting the

   Program simply by “purchas[ing] covered outpatient drugs at the 340B Program price for all




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   eligible patients regardless of the patients’ income or insurance status” and “receiving

   reimbursement from patients’ insurance that may exceed the 340B prices paid for the drugs.”

   GAO, 340B Drug Discount Program: Increased Oversight Needed to Ensure Nongovernmental

   Hospitals Meet Eligibility Requirements, GAO-20-108, at 5 (Dec. 2019), https://bit.ly/34Vj6zK.

          Against this backdrop, and consistent with the plain text and clear purpose of the statute,

   Plaintiffs Eli Lilly and Company and Lilly USA, LLC (together, “Lilly”) announced last summer

   that it would cease to offer 340B discounts to contract pharmacies on three formulations of its drug

   Cialis®. Lilly later expanded this new distribution model to include all of its prescription drug

   products—except when a covered entity lacks an in-house pharmacy. In that limited circumstance,

   where an outside pharmacy is necessary for a covered entity to dispense covered outpatient drugs

   to patients, Lilly will permit the covered entity to designate one outside contract pharmacy to

   receive and dispense 340B product to 340B-eligible patients. To be clear: Lilly still offers full

   340B discounts to all entities eligible for them, and Lilly will continue to ensure that patients are

   able to receive 340B product even when a covered entity cannot dispense drugs itself. Lilly’s new

   distribution plan is thus not only a necessary bulwark against contract pharmacy abuses (and a

   more-than-reasonable response to limit exposure to the raft of penalties the statute authorizes), but

   is consistent with the plain text and the original intent of the 340B statute.

          Yet when Lilly announced that it would no longer allow an unlimited number of contract

   pharmacies to demand discounts, Defendants threatened Lilly with sanctions. And they have now

   made good on those threats: Defendants have jettisoned their prior, longstanding, and nonbinding

   guidance that contract pharmacy arrangements are permissible but not enforceable on pain of

   penalty in favor of a new, binding decision under which manufacturers like Lilly must offer full

   340B discounts to an unlimited number of contract pharmacies on all covered outpatient drugs. If




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   a manufacturer refuses, Defendants say it will face massive penalties of up to $5,000 per

   occurrence, plus the potential revocation of the manufacturer’s ability to participate in and receive

   reimbursements under the pervasive Medicare and Medicaid programs.

          Worse, Defendants propose to adjudicate manufacturers’ liability under this made-up

   statutory regime using unconstitutional, unlawful, and arbitrary procedures. Although the goal of

   the 340B Program was to provide financial support to hospitals and clinics that serve vulnerable

   populations, Congress did not appropriate federal funds for that purpose; instead, it coerced

   pharmaceutical manufacturers to effectively subsidize covered entities via the 340B Program as a

   condition of participating in Medicare Part B and Medicaid. Congress’s decision to set up a

   taxpayer-to-taxpayer system has had a number of downstream consequences, including creating a

   lax regulatory environment ripe for for-profit contract pharmacies like CVS and Walgreens to

   siphon huge sums of money from the Program by partnering with covered entities and engaging

   in arbitrage. The decision also ensured that, eventually, 340B disputes between these taxpayers

   would arise. Hence, Congress instructed HHS in 2010 to establish an administrative dispute

   resolution (“ADR”) procedure to hear 340B disputes between manufacturers and covered entities.

   But just as Defendants HHS and HRSA have flouted the clear limitations on their authority vis-à-

   vis contract pharmacies, they flouted that clear statutory command to establish ADR protocols:

   Although Congress instructed HHS to establish ADR procedures within 180 days, it took HHS

   nearly six years to promulgate a Notice of Proposed Rulemaking (“NPRM”) suggesting ADR

   procedures and seek public comment—and even then, the NPRM did not last long; recognizing

   the host of problems with the belatedly proposed rule, HHS withdrew it altogether in 2017.

          After ignoring congressional instructions regarding ADR for nearly a decade, HHS finally

   acted. Yet instead of issuing a new NPRM or giving any consideration to the concerns that led it




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   to withdraw the original NRPM in the first place, the agency rushed an ADR regulation out the

   door at the twilight of the Trump Administration as a panicked response to covered-entity-initiated

   litigation pressure. In particular, HHS simply blew the dust off its long-ago-withdrawn rule;

   pretended that the withdrawn NPRM has been alive the whole time; changed the rule in important

   ways; and then carried it into immediate effect—all without giving regulated parties any

   opportunity for public comment. See 340B Drug Pricing Program; Administrative Dispute

   Resolution Regulation, 85 Fed. Reg. 80,632-01 (Dec. 14, 2020) (“ADR Rule”). That is precisely

   the sort of unlawful agency gamesmanship that federal courts exist to police.

          And if the ADR Rule’s procedural history is bad (which it is), its substance is worse. First,

   it violates the Appointments Clause of Article II of the U.S. Constitution. The ADR Rule installs

   Executive Branch employees on ADR panels and gives them the power to adjudicate disputes

   between private parties and to issue “binding” judgments for money damages. No superior

   Executive official has any power to review these employees’ decrees or remove them from an

   ADR panel except for cause, thus making the employees principal Executive officers, and making

   their non-Presidential appointment contrary to Article II. Second, the ADR Rule confers on ADR

   panels the power to issue final judgments for money damages and equitable relief to resolve private

   rights—authority reserved to Article III courts. As a result, the ADR Rule is contrary to the

   Constitution, or, at a minimum, it exceeds Congress’s statutory authorization for agency action.

          The ADR Rule is also arbitrary and capricious under the Administrative Procedure Act

   (“APA”). In comments to the NPRM, a number of manufacturers raised concerns about the

   agency’s refusal to at least utilize an independent administrative law judge (“ALJ”) to perform

   quintessentially adjudicatory tasks. The final ADR Rule not only arbitrarily and capriciously

   rejects that suggestion, it exacerbates the problem, expanding the panels’ powers to include money




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   judgments and equitable relief (neither of which is in the original NPRM), providing that the

   panels’ decisions will be “precedential” in future cases, and allowing covered entities’ agents and

   trade associations (neither of which has any entitlement to 340B discounts under the statute) to

   bring ADR panel claims for money damages against manufacturers.

          To make matters worse, one of the “judges” of these would-be “courts” is the HHS General

   Counsel, which is the Office that issued the December 30 Decision (mis-)interpreting the 340B

   statute to require manufacturers to provide discounts to contract pharmacies whenever the latter

   act as a covered entity’s “agent.” As a result, when confronted with the question of whether a

   manufacturer can and/or should be subjected to penalties for not offering 340B discounts to for-

   profit contract pharmacies, the Executive Branch employees who comprise the ADR panels will

   not apply their expertise in administering a pharmacy benefit program, but rather will apply

   common law principles of agency to adjudge the legal nature of the relationship between covered

   entities and contract pharmacies like CVS. That is a task for an Article III judge, not a bureaucrat.

   It also confirms that, as a result of the agencies’ recent and final actions, the 340B Program writ

   large has been fundamentally transformed from a system designed to subsidize nonprofit

   healthcare providers that serve vulnerable patients into an unlawful and unconstitutional forced

   wealth transfer backstopped by an unlawful and unconstitutional administrative tribunal.

          Subsequently, in a May 17, 2021 letter, Defendant Diana Espinosa ordered Lilly comply

   with Defendants’ interpretation of the statute and demanded that Lilly reimburse all instances it

   did not provide 340B discounts for contract pharmacy transactions.           This letter constitutes

   additional final agency action, determining that Lilly is in violation of the government’s

   interpretation of the statute, and threatening the imposition of serious civil penalties. See U.S.

   Army Corps of Eng. v. Hawkes, 136 S. Ct. 1807, 1815 (2016) (“As we have long held, parties need




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   not await enforcement proceedings before challenging final agency action where such proceedings

   carry the risk of ‘serious criminal and civil penalties.’”). The letter is an unlawful agency decision,

   not only departing from the agency’s settled interpretation of the statute that had been in place at

   least prior to the December 30 Decision, but also departing from the rationale the agency relied on

   just five months before in its December 30 Decision.

          Lilly therefore brings this action seeking an order: (1) declaring that the substantive

   obligation imposed in the December 30 Decision and May 17 Letter violates the APA because it

   violates the Constitution, is in excess of statutory authority, was issued without following proper

   procedure, and is arbitrary, capricious, an abuse of discretion, and otherwise not in accordance

   with law; (2) declaring that Lilly is not required and cannot be required to provide 340B discounts

   to contract pharmacies (including on covered outpatient drugs acquired by contract pharmacies to

   replenish drugs that were dispensed to purported patients of 340B covered entities, and drugs not

   purchased by covered entities); (3) enjoining enforcement of the December 30 Decision, the May

   17 Letter, and all actions by Defendants inconsistent with that declaratory relief; (4) declaring that

   the ADR Rule violates the APA because it violates the Constitution, is in excess of statutory

   authority, was issued without following proper procedure, and is arbitrary, capricious, an abuse of

   discretion, and not otherwise in accordance with law; and (5) enjoining implementation of the

   ADR Rule.

                                             THE PARTIES

          1.      Plaintiff Eli Lilly and Company is a publicly traded pharmaceutical company

   organized and existing under the laws of the State of Indiana and headquartered in Indianapolis,

   Indiana. Eli Lilly and Company participates in the 340B Program.

          2.      Plaintiff Lilly USA, LLC is a wholly owned subsidiary of Eli Lilly and Company

   existing under the laws of the State of Indiana and headquartered in Indianapolis, Indiana.


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          3.      Defendant HHS is an executive branch department in the United States government

   headquartered in the District of Columbia. HHS oversees the activities of HRSA.

          4.      Defendant Xavier Becerra sued in his official capacity only, is the Secretary of

   HHS, and is substituted as a party pursuant to Federal Rule of Civil Procedure 25(d). His official

   address is in the District of Columbia. Secretary Becerra has ultimate responsibility for oversight

   of the activities of HRSA, including with regard to the administration of the 340B Program and

   the actions complained of herein.

          5.      Defendant Daniel J. Barry, sued in his official capacity only, is the Acting General

   Counsel of HHS. His official address is in the District of Columbia. Mr. Barry oversees the Office

   of General Counsel, which publishes final legal decisions on behalf of the agency.

          6.      Defendant HRSA is an administrative agency within HHS and is responsible for

   administering the 340B Program. HRSA is headquartered in Rockville, Maryland.

          7.      Defendant Diana Espinosa, sued in her official capacity only, is the Acting

   Administrator of HRSA, and is substituted as a party pursuant to Federal Rule of Civil Procedure

   25(d). Her official address is in Rockville, Maryland. Acting Administrator Espinosa is directly

   responsible for the administration of the 340B Program and the actions complained of herein.

   Acting Administrator Espinosa, among his other duties, has ultimate responsibility for the Office

   of Pharmacy Affairs (“OPA”) in HRSA, which is headed by Rear Admiral Krista M. Pedley of the

   Public Health Service. OPA is involved directly in the administration of the 340B Program, as a

   constituent part of HRSA.

                                   JURISDICTION AND VENUE

          8.      Lilly brings this action under the APA, 5 U.S.C. §§ 701–706, and the Declaratory

   Judgment Act, 28 U.S.C. §§ 2201–2202.

          9.      The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.


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          10.     Venue is proper because, among other things, Lilly resides in this judicial district

   and “no real property is involved in the action.” 28 U.S.C. § 1391(e)(1).

          11.     This Court may grant injunctive and declaratory relief pursuant to 5 U.S.C. §§ 701–

   706 and 28 U.S.C. §§ 2201–2202.

                                                FACTS

   I.     Congress Created The 340B Program To Help Vulnerable And Low-Income Patients

          12.     Congress established the 340B Program, named for the statutory provision

   authorizing it in the Veterans Health Care Act of 1992, see Pub. L. No. 102-585, § 602(a), 106

   Stat. 4943, 4967 (adding section 340B to the Public Health Service Act), to “reduce pharmaceutical

   costs for safety-net medical providers and the indigent populations they serve.” Connor J. Baer,

   Drugs for the Indigent: A Proposal to Revise the 340B Drug Pricing Program, 57 WM. & MARY

   L. REV. 637, 638 (2015); see H.R. Rep. No. 102-384 (II), at 12 (1992) (The 340B Program

   “provides protection from drug price increases to specified Federally-funded clinics and public

   hospitals that provide direct clinical care to large numbers of uninsured Americans.”). The point

   of the 340B Program, in other words, was to “create[] a low-cost source of pharmaceutical

   medication for the indigent patients themselves.” Baer, supra, at 638.

          13.     Although participation in the 340B Program is formally optional, see Astra, 563

   U.S. at 117-18, manufacturers have no real choice but to opt in: Manufacturers cannot receive

   coverage or reimbursement for their products under Medicaid and Medicare Part B unless they

   participate in the 340B Program. 42 U.S.C. § 1396r-8(a)(1), (5).

          14.     Manufacturers “opt into” the 340B Program by signing a form contract with HHS

   “for covered drugs purchased by 340B entities.” Astra, 563 U.S. at 113, 117. That form contract

   is known as the Pharmaceutical Pricing Agreement (“PPA”). Id. at 117.




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          15.     A PPA is not an ordinary contract. PPAs are entirely composed by HHS, they

   “have no negotiable terms,” and they “simply incorporate statutory obligations and record the

   manufacturers’ agreement to abide by them.”            Id. at 118.   “The statutory and contractual

   obligations, in short, are one and the same.” Id.

          16.     The government may terminate a PPA if it determines that a manufacturer has failed

   to comply with its obligations. See 42 U.S.C. 1396r-8(b)(4)(B)(v); 61 Fed. Reg. 65,406, 65,412–

   65,413 (Dec. 12, 1996); PPA §§ IV(c), VI(c).

          17.     Under the 340B statute and the terms of the PPA, any manufacturer that participates

   in the 340B Program must “offer each covered entity covered outpatient drugs for purchase at or

   below the applicable ceiling price if such drug is made available to any other purchaser at any

   price.” 42 U.S.C. § 256b(a)(1).       Only “covered entities”—a class of non-profit healthcare

   organizations the 340B statute defines in painstaking detail—are eligible to participate in the

   Program and receive these discounts for prescription drugs.

          18.     The 340B statute exhaustively defines “covered entities.” The statutory definition

   enumerates 15 categories of “covered entities” (e.g., “A black lung clinic receiving funds under

   section 937(a) of title 30”), but not the specific eligible entities themselves (e.g., the Philadelphia

   Black Lung Clinic). See id. § 256b(a)(4).

          19.     Consistent with the 340B Program’s overriding goal of helping vulnerable and low-

   income patients acquire lower-cost access to life-saving medicines, the statute defines “covered

   entities” to include only organizations that naturally, and often predominantly, serve low-income

   individuals. For instance, Federally Qualified Health Centers, children’s hospitals, rural hospitals,

   and other clinics serving vulnerable populations are all specifically defined as “covered entities”




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   eligible to enroll and participate in the 340B Program. Id.; see also Am. Hosp. Ass’n v. Azar, 967

   F.3d 818, 820 (D.C. Cir. 2020).

          20.     The statute further makes clear that entities not on the list—e.g., for-profit

   hospitals, and commercial businesses such as “contract pharmacies” that profit off manufacturer

   discounts—are not entitled to receive medications from manufacturers at 340B discounted prices.

   42 U.S.C. § 256b(a)(4).

          21.     Pursuant to the 340B statute and the terms of the PPA, HRSA publishes on its

   website a list of specific qualifying “covered entities,” which it updates quarterly. See 42 U.S.C.

   § 256b(a)(9); PPA § III.(a).      HRSA treats the quarterly list as definitive and binding on

   manufacturers. See 82 Fed. Reg. 1,210, 1,227 (Jan. 5, 2017).

          22.     Covered entities pay significantly discounted prices for “covered outpatient drugs,”

   a category which includes most drugs used on an outpatient basis, according to a prescribed

   statutory formula. See 42 U.S.C. § 256b(a)(1), (a)(4), (b)(1). The 340B price is calculated by

   determining the difference between the manufacturer’s Average Manufacturer Price and its

   Medicaid rebate amount, as determined under the Medicaid Drug Rebate Program statute, codified

   at Section 1927 of the Social Security Act. Id. § 256b(a)(1)-(2) & (b). The resulting prices, known

   as the 340B “ceiling prices,” are significantly lower than what other purchasers would pay for the

   same product and can even be as low as one penny per pill or per milligram. Covered entities are

   then able to turn around and bill patients or insurers the drug’s full price, pocketing the difference.

          23.     The 340B statute delegates oversight and enforcement responsibilities to HHS. In

   addition to requiring HHS to notify manufacturers of the identity of covered entities, see id.

   § 256b(a)(9), the statute authorizes HHS to monitor unlawful drug diversion by covered entities




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   and to audit covered entities and manufacturers, see id. § 256b(d)(1)(B)(vi). HHS has delegated

   340B oversight and enforcement to HRSA, one of the defendants in this suit.

           24.        That authority empowers HRSA to evaluate manufacturer compliance with

   Program requirements, and it may impose civil monetary penalties (“CMPs”) on manufacturers

   that knowingly and intentionally charge covered entities more than the statutory 340B ceiling price

   for covered outpatient drugs. In particular, HRSA may impose CMPs of more than $5,000 “for

   each instance of overcharging” a covered entity. 85 Fed. Reg. 2,869, 2,873 (Jan. 17, 2020); see

   42 C.F.R. § 10.11(a); 42 U.S.C. § 256b(d)(1)(B)(vi).

           25.        In addition to limiting the universe of covered entities, Congress also prohibited

   covered entities from causing “duplicate discounts or rebates,” which means they may not request

   both a 340B discount and a Medicaid rebate for the same drug. 42 U.S.C. § 256b(a)(5)(A).

           26.        And to help ensure that covered entities and others do not inappropriately benefit

   from the opportunity of 340B price arbitrage, Congress further forbade any “covered entity” from

   engaging in “diversion,” i.e., “resell[ing] or otherwise transfer[ring]” a covered outpatient drug “to

   a person who is not a patient of the entity.” Id. § 256b(a)(5)(B). In other words, covered entities

   may not transfer or sell the discounted drugs to any person or entity except their own patients. The

   340B statute does not extend this diversion prohibition to manufacturers—thereby ensuring that if

   a covered entity lacks an in-house pharmacy through which it can dispense medicines itself,

   manufacturers may lawfully opt to deliver discounted product to a dispensing pharmacy of the

   covered entity’s choosing (as Lilly has always done and continues, in a more limited fashion, to

   do still today).

           27.        There are two potential forms of diversion at play when covered entities use

   contract pharmacies. First, diversion occurs when the covered entities transfer or sell discounted




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   drugs to any person or entity except their own patients—i.e., to the contract pharmacies. Second,

   diversion occurs when covered entities (or contract pharmacies) transfer or sell discounted drugs

   to patients who are not eligible to receive drugs at discounted prices pursuant to 340B. In other

   words, contract pharmacy arrangements, which instruct wholesalers to honor 340B prices to for-

   profit commercial pharmacies, may be (or at least result in) 340B discounted product being

   diverted—i.e., “otherwise transfer[red]” to another person or entity in violation of the statute.

   II.     The 340B Statute Neither Requires Manufacturers To Offer Discounts To For-Profit
           Contract Pharmacies Nor Empowers HHS/HRSA To Impose Such A Requirement

           28.     The 340B statute contemplates that manufacturers will provide covered outpatient

   drugs at 340B discounted prices only to covered entities.

           29.     Nothing in the statute allows, let alone mandates, the use of contract pharmacies or

   that manufacturers respect an unlimited number of covered entity – contract pharmacy

   relationships. In fact, the opposite is true.

           30.     Section 340B’s plain language limits a manufacturer’s obligation to offer 340B

   prices to “each covered entity.” 42 U.S.C. § 256b(a)(1); see id. (authorizing the HHS Secretary

   (and thus HRSA) to “require that the manufacturer offer each covered entity covered outpatient

   drugs for purchase at or below the applicable ceiling price if such drug is made available to any

   other purchaser at any price”).

           31.     A contract pharmacy, however, is not a covered entity.

           32.     The 340B statute defines the term “covered entity” in exhaustive detail. In 42

   U.S.C. § 256b(a)(4)—titled “‘Covered entity’ defined”—Congress defined the term as “an entity

   that meets the requirements described in paragraph (5),” which prohibits diversion and duplicate

   discounts, “and is one of the following”:

           (A) A Federally-qualified health center (as defined in section 1905(l)(2)(B) of the
           Social Security Act).


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         (B) An entity receiving a grant under section 256a of this title.

         (C) A family planning project receiving a grant or contract under section 300 of
         this title.

         (D) An entity receiving a grant under subpart II of part C of subchapter XXIV
         (relating to categorical grants for outpatient early intervention services for HIV
         disease).

         (E) A State-operated AIDS drug purchasing assistance program receiving financial
         assistance under subchapter XXIV.

         (F) A black lung clinic receiving funds under section 937(a) of title 30.

         (G) A comprehensive hemophilia diagnostic treatment center receiving a grant
         under section 501(a)(2) of the Social Security Act.

         (H) A Native Hawaiian Health Center receiving funds under the Native Hawaiian
         Health Care Act of 1988.

         (I) An urban Indian organization receiving funds under title V of the Indian Health
         Care Improvement Act.

         (J) Any entity receiving assistance under subchapter XXIV (other than a State or
         unit of local government or an entity described in subparagraph (D)), but only if
         the entity is certified by the Secretary pursuant to paragraph (7).

         (K) An entity receiving funds under section 247c of this title (relating to treatment
         of sexually transmitted diseases) or section 247b(j)(2) of this title (relating to
         treatment of tuberculosis) through a State or unit of local government, but only if
         the entity is certified by the Secretary pursuant to paragraph (7).

         (L) A subsection (d) hospital (as defined in section 1886(d)(1)(B) of the Social
         Security Act that—

                (i) is owned or operated by a unit of State or local government, is a public
                or private non-profit corporation which is formally granted governmental
                powers by a unit of State or local government, or is a private non-profit
                hospital which has a contract with a State or local government to provide
                health care services to low income individuals who are not entitled to
                benefits under title XVIII of the Social Security Act or eligible for
                assistance under the State plan under this subchapter;

                (ii) for the most recent cost reporting period that ended before the calendar
                quarter involved, had a disproportionate share adjustment percentage (as
                determined under section 1886(d)(5)(F) of the Social Security Act) greater
                than 11.75 percent or was described in section 1886(d)(5)(F)(i)(II) of such
                Act; and


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                  (iii) does not obtain covered outpatient drugs through a group purchasing
                  organization or other group purchasing arrangement.

          (M) A children’s hospital excluded from the Medicare prospective payment system
          pursuant to section 1886(d)(1)(B)(iii) of the Social Security Act, or a free-standing
          cancer hospital excluded from the Medicare prospective payment system pursuant
          to section 1886(d)(1)(B)(v) of the Social Security Act, that would meet the
          requirements of subparagraph (L), including the disproportionate share adjustment
          percentage requirement under clause (ii) of such subparagraph, if the hospital were
          a subsection (d) hospital as defined by section 1886(d)(1)(B) of the Social Security
          Act.

          (N) An entity that is a critical access hospital (as determined under section
          1820(c)(2) of the Social Security Act), and that meets the requirements of
          subparagraph (L)(i).

          (O) An entity that is a rural referral center, as defined by section 1886(d)(5)(C)(i)
          of the Social Security Act, or a sole community hospital, as defined by section
          1886(d)(5)(C)(iii) of such Act, and that both meets the requirements of
          subparagraph (L)(i) and has a disproportionate share adjustment percentage equal
          to or greater than 8 percent.

          33.     The 340B statute thus lists 15 different types of entities that can qualify as “covered

   entities” for purposes of the 340B Program. Contract pharmacies do not make the list.

          34.     Furthermore, neither the 340B statute nor any other provision of law confers upon

   Defendants authority to require manufacturers to provide discounts to contract pharmacies through

   any exception process or carve out through a “safe harbor” for unlisted covered entities, or by

   claiming that contract pharmacies act as the “agents” of covered entities. That means Defendants

   have no such authority: As creatures of statute, agencies like HHS and HRSA have no valid power

   to act “unless and until Congress confers power upon [them].” Wabash Valley Power Ass’n, Inc.

   v. Rural Electrification Admin., 988 F.2d 1480, 1486 (7th Cir. 1993) (quoting La. Public Service

   Comm’n v. FCC, 476 U.S. 355, 374 (1986)). Congress has not granted any such authority here.

          35.     Nor does the 340B statute permit Defendants to obligate manufacturers to offer

   discounts to contract pharmacies based on the theory that the latter are merely acting as “agents”

   of covered entities. To be sure, the statute contemplates that various entities that themselves are


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   not covered entities may effectively step in the shoes of a covered entity in certain, limited

   circumstances. See, e.g., 42 U.S.C. § 256b(d)(3)(B)(vi) (referring separately to three types of

   agents, including “associations or organizations representing the interests of [ ] covered entities,”

   rather than simply calling them “covered entities”); id. § 256b(d)(1)(B)(v) (same vis-à-vis

   “wholesalers”); id. § 256b(d)(2)(B)(iv) (same vis-à-vis “distributors”). But contract pharmacies

   are not among them. Contract pharmacies are obviously not wholesalers and distributors (they are

   retailers). And they are equally not “associations or organizations representing the interests of [ ]

   covered entities.” That latter category encompasses trade associations and the like that lobby and

   litigate on behalf of covered entities and their interests; it does not include for-profit commercial

   enterprises that are publicly traded and that represent their own pecuniary interests above all else.

          36.     Nor did Congress delegate any discretionary or rulemaking authority to add to or

   subtract from the list of entities that manufacturers are required to treat as “covered entities” under

   the Program, or to impose a requirement that manufacturers offer 340B discounts to “associations

   or organizations representing the interests of [ ] covered entities” on pain of penalty. To the

   contrary, Congress specifically limited HRSA’s authority to undertake rulemaking in the 340B

   Program to three specific areas: (1) the establishment of an administrative dispute resolution

   process; (2) the issuance of precisely defined standards of methodology for calculation of ceiling

   prices; and (3) the imposition of monetary civil sanctions, see Pharm. Research & Mfrs. of Am. v.

   U.S. Dep’t of Health & Human Servs., 43 F. Supp. 3d 28, 41 (D.D.C. 2014) (“Orphan Drug I”),

   the latter of which is specifically and deliberately limited to instances of overcharging covered

   entities themselves, not any agents thereof, see 42 U.S.C. § 256b(d)(1)(B)(vi)(II)-(III).

          37.     In short, HRSA has no authority to create exceptions to the statutory limitation that

   only the explicitly enumerated “covered entities” may receive 340B discounts. Only Congress




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   holds that power. Any agency determination to the contrary is in excess of its statutory authority

   and contrary to law. 5 U.S.C. § 706(2)(A); see FDA v. Brown & Williamson Tobacco Corp., 529

   U.S. 120, 125 (2000) (An agency “may not exercise its authority in a manner that is inconsistent

   with the administrative structure that Congress enacted.” (internal quotation marks omitted)).

   III.   Despite These Statutory Limitations, HRSA Issued Guidance Permitting The Use Of
          Contract Pharmacies In 1996 And Then Expanded That Permission In 2010, But
          Stopped Short Of Requiring Manufacturers To Offer Contract Pharmacies Discounts

          38.     Until 1996, covered entities purchased and dispensed 340B drugs exclusively

   through in-house pharmacies.

          39.     In 1996, HRSA issued guidance allowing “contract pharmacies”—typically large,

   commercial, for-profit entities—to sign agreements with covered entities to dispense covered

   outpatient drugs in connection with the 340B Program. 61 Fed. Reg. 43,549 (Aug. 23, 1996).

          40.     This initial allowance for contract pharmacies, which are not themselves covered

   entities, was narrow: Only covered entities without an in-house pharmacy could contract with

   contract pharmacies to dispense 340B drugs to the covered entity’s patients—and even then, each

   covered entity could contract with just a single contract pharmacy.

          41.     The 1996 guidance made clear that HRSA itself recognized that it lacks authority

   to expand or contract the universe of covered entities. See id. at 43,550.

          42.     In issuing the 1996 guidance, moreover, HRSA intentionally chose not to follow

   the notice-and-comment requirements of the APA. See 5 U.S.C. § 553(b), (c). That was because,

   in HRSA’s view, the guidance amounted merely to an interpretive rule that “create[d] no new law

   and create[d] no new rights or duties.” 61 Fed. Reg. at 43,550. Compare, e.g., Perez v. Mortg.

   Bankers Ass’n, 575 U.S. 92, 97 (2015) (“Interpretive rules do not have the force and effect of law

   and are not accorded that weight in the adjudicatory process.” (internal quotation marks and

   citation omitted)), with, e.g., Metro. Sch. Dist. v. Davila, 969 F.2d 485, 489 (7th Cir. 1992)


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   (legislative rules “create new law, rights, or duties,” and must proceed through notice and

   comment).

          43.     In short, HRSA’s 1996 allowance for contract pharmacies created no new

   obligations on manufacturers that do not arise from the statute itself, and it did not require (or even

   purport to require) manufacturers to deliver 340B discounted product to contract pharmacies; the

   guidance merely presents HRSA’s view that it would not enforce against covered entities in the

   event they engaged contract pharmacies in limited and highly controlled situations.

          44.     The lay of the land from 1996 to 2010 was thus largely consonant with the

   Program’s aims: In the ordinary course, only covered entities—which, again, uniformly are

   nonprofit healthcare providers that serve large numbers or proportions of vulnerable patients, not

   shareholders—could receive 340B discounted drugs from manufacturers. But if a covered entity

   lacked an in-house pharmacy, it could contract with one (but only one) nearby pharmacy to

   dispense 340B discounted drugs to its patients, near or far.

          45.     That all changed in 2010, when HRSA issued new guidance significantly

   expanding covered entities’ ability to contract with outside, for-profit pharmacies. See 75 Fed.

   Reg. 10,272 (Mar. 5, 2010).

          46.     This 2010 guidance allows all covered entities, not just those without an in-house

   pharmacy, to contract with commercial pharmacies to dispense 340B discounted drugs. It further

   allows covered entities to enter into an unlimited number of such arrangements with an unlimited

   number of contract pharmacies—whether the pharmacy is across the street or across the country.

          47.     As in 1996, HRSA styled the 2010 guidance as an interpretive rule, did not go

   through the notice-and-comment procedures, and made clear that the guidance imposed no




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   obligations. Id. at 10,274; see also id. at 10,273 (2010 guidance “neither imposes additional

   burdens upon manufacturers, nor creates any new rights for covered entities under the law”).

          48.     The 2010 guidance has radically altered—and undermined—the 340B Program.

   No longer is it a program designed to improve access to drugs among vulnerable patient

   populations; instead, the Program has become a massive profit engine for large businesses such as

   Walgreens, CVS, and other for-profit commercial enterprises.

          49.     In the first seven years following HRSA’s relaxation of the rules, the GAO reported

   a 1,438% increase in the number of contract pharmacy arrangements, from 1,300 in 2010 to nearly

   20,000 in 2017. 2018 GAO Report at 2. A more recent study reported an even greater, 4,228%

   increase between 2010 and today. Vandervelde et al., supra, at 4. And according to HRSA’s own

   figures, there are now tens of thousands of contract pharmacy locations across the country and

   more than 190,000 arrangements between contract pharmacies and covered entities. See HRSA,

   OPA 340B OPAIS, 340B Contract Pharmacy Database, https://bit.ly/3nLdX3X (last visited May

   25, 2021). That is a remarkable figure, particularly given that HRSA’s online 340B Covered Entity

   Database lists only about 50,000 covered entity locations in the entire Program. See id.




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   Source: https://www.drugchannels.net/2019/07/walgreens-cvs-and-walmart-lead-25000.html.




          50.    Some covered entities use staggering numbers of contract pharmacies to dispense

   340B Program drugs. In 2017, for example, the GAO reported that a single covered entity used

   as many as 439 distinct contract pharmacies—meaning each of those 439 pharmacies would seek


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   drugs from manufacturers at the 340B prices. 2018 GAO Report at 18. Covered entities also used

   contract pharmacies that were thousands of miles away. Id. at 22; see also id. at 23 n.38 (“The

   maximum distance across all covered entities was for a disproportionate share hospital located in

   Connecticut that contracted with a pharmacy in Hawaii.”).

             51.   This dramatic expansion of the use of contract pharmacies cannot be explained by

   an increase in the number of covered entities; as of April 2020, the number of arrangements

   between contract pharmacies and covered entities far exceeds the number of covered entities

   eligible to receive 340B discounted product. 1 Instead, the “enormous growth in 340B contract

   pharmacy arrangements seems to boil down to a single factor: outsized profit margins” for

   pharmacies and covered entities. Vandervelde et al., supra, at 4; see also 2018 GAO Report at 23

   n.38 (noting that the government’s “340B database does not provide information on why a covered

   entity may choose to contract with a pharmacy that is located a long distance away”).

   IV.       Contract Pharmacies Have Repeatedly And Consistently Abused The 340B Program

             52.   The massive expansion of the 340B Program since 2010 has created a number of

   program integrity concerns that neither HRSA nor Congress has addressed, despite persistent calls

   from drug manufacturers and other industry stakeholders.

             A.    Contract Pharmacies Are Not Required to Pass on 340B Discounted Prices to
                   Patients—And they Rarely Do, Leaving Patients to Pay Full Price

             53.   In addition to transforming the 340B Program from a mechanism for increasing

   low-income Americans’ access to medicines into one enriching for-profit pharmacies, the 2010

   guidance has created profound program integrity concerns, enabling (and arguably encouraging)

   practices the 340B statute expressly prohibits—namely, drug diversion and duplicate discounts.


         1
        Lilly respectfully requests that this Court take notice of the documents cited herein (i.e., the
   government reports and published news sources), as their contents cannot reasonably be disputed
   and their accuracy can be readily determined. See Fed. R. Evid. 201.

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   See Vandervelde et al., supra, at 4 (“The 2010 guidance created an opportunity for sophisticated,

   for-profit pharmacy chains to realize larger margins than they otherwise could.”).

          54.     For example, in the Medicare Part B context, government reports have found that

   covered entities typically paid between 20 and 50 percent below the average sales price for

   prescription drugs. See, e.g., 85 Fed. Reg. 48,772, 48,886 (Aug. 12, 2020) (the “typical acquisition

   cost … under the [Medicare Hospital Outpatient Prospective Payment System] is … 34.7 percent”

   lower than the average sales price). Yet when they dispensed the drugs, they received the full

   reimbursement from Medicare.        GAO, Medicare Part B Drugs: Action Needed to Reduce

   Financial Incentives to Prescribe 340B Drugs at Participating Hospitals, GAO-15-442 (June

   2015), https://bit.ly/3q3yG4p. In other words, covered entities with in-house pharmacies have

   generated considerable revenue via the 340B Program even without contract pharmacies.

          55.     That transfer of value from manufacturers to covered entities—all non-profit

   healthcare providers—is one thing. It is quite another for the government to force manufacturers

   to allow for-profit pharmacy chains like Walgreens and CVS to get in on the action. See 2018

   GAO Report at 20 (75% of 340B contract pharmacies are commercial chain pharmacies). The

   five biggest retail chains (including, e.g., CVS and Walgreens) together represent 60% of 340B

   contract pharmacies, but only 35% of pharmacies nationwide. Id. at 21.

          56.     Yet, under the current model, that is precisely what is happening. Like covered

   entities, contract pharmacies pay significantly discounted prices, known as ceiling prices, on

   outpatient drugs when they act on covered entities’ behalf. Contract pharmacies are also permitted

   to—and typically do—bill the patient’s third-party insurer or otherwise charge the patient out of

   pocket, thereby generating profits from the substantial difference between the low acquisition price

   mandated by the 340B statute and the higher reimbursement value of the drug. The covered entity




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   then pockets this “spread” and typically pays the contract pharmacy either a pre-negotiated fee or

   a share of the spread for each covered outpatient drug dispensed.

          57.     What that means in practice is simple, but pernicious: Contract pharmacies can use

   covered entities to secure huge discounts on pharmaceuticals, but then turn around and charge

   patients full price, and kick back some part of the difference to the covered entity—capturing a

   nontrivial portion of the discounts intended to benefit vulnerable patient populations in the process.

          58.     Under the current model, contract pharmacies therefore may purchase prescription

   drugs at these same steep discounts from the manufacturer list prices (in some cases, as low as one

   penny), but then turn around and sell them for the full list price. See 85 Fed. Reg. at 48,888.

          59.     Contract pharmacies unsurprisingly have profited greatly from this arrangement.

   “The average profit margin on 340B medicines commonly dispensed through contract pharmacies

   is an estimated 72 percent, compared with just 22 percent for non-340B medicines dispensed

   through independent pharmacies.” Vandervelde et al., supra, at 3; see also Raymond James, 340B

   Pharmacy Follow Up—Less Than $1.4B but Still Yuge, at 1 (Sept. 9, 2020) (Walgreens generated

   profits “in the hundreds of millions” through 340B contract pharmacy arrangements). A recent

   industry analysis found that covered entities and their contract pharmacies generated more than

   $13 billion in estimated profits from 340B purchased medicines in 2018 alone. Vandervelde et

   al., supra, at 7. While the 340B Program was “originally intended to provide healthcare services

   to indigent populations,” “more than half of all profits realized by the 27,000 340B contract

   pharmacies participating in the 340B [P]rogram today are concentrated in just four companies,”

   all of which are for-profit entities that are under no obligation to—and typically do not—pass on

   any portion of the discounts they receive to the patients the 340B Program is designed to help. Id.




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          60.     Despite the 340B Program’s objective of providing affordable drugs to underserved

   patients, contract pharmacies are not even required to “pass along” to patients the spread between

   the discounted acquisition prices from manufacturers and the reimbursement paid by an insurer

   (or the price charged to the uninsured patient). Nor are there any restrictions or reporting

   requirements related to how or even if the contract pharmacy redirects this 340B savings to benefit

   low-income or underserved patients in other ways. In other words, any entity obtaining 340B

   discounts—including a contract pharmacy—may decide to keep the full savings without ever

   passing the discounts along to any patient it serves. Without any reporting requirements to HRSA

   or otherwise, contract pharmacies can freely direct fungible money generated from the 340B

   Program savings to any cause without accountability, including their own bottom line.

          61.     These are not hypothetical concerns. Government reports show that “large numbers

   of low-income patients” that Congress intended to benefit from the 340B Program do not receive

   the substantial discounts on drugs dispensed through contract pharmacies. H.R. Rep. No. 102-

   384, at 10. For example, in response to a 2018 GAO survey, 45 percent of covered entities

   admitted they do not pass along any discount to any patients that use any of their contract

   pharmacies. 2018 GAO Report at 30. Nor is there reason to believe the remaining 55 percent

   does. The GAO specifically noted that the remaining surveyed entities using contract pharmacies

   may only provide discounts to patients in limited cases. Id. By contrast, it noted that 17 of 23

   covered entities that used in-house pharmacies—instead of contract pharmacies—reported

   offering discounts to their patients. Id.

          62.     Add it all up, and a program designed to benefit needy American patients has

   become a mechanism for multiplying large, for-profit pharmacy chains’ profit margins while

   exposing manufacturers to greater risk of duplicate discounts, diversion and potential penalties.




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   For instead of reinvesting the profits they generate from the 340B Program to expand access to

   affordable prescription drugs, contract pharmacies simply pocket the money.

          63.     Many businesses are not even trying to hide what they are doing; some covered

   entities contract with hundreds of different commercial pharmacies that are located up to 5,000

   miles away. Such faraway contract pharmacies rarely, if ever, actually dispense discounted drugs

   to needy patients; they simply engage in arbitrage, as they are under no obligation to pass on

   discounts to patients. It is little wonder, then, that a recent New England Journal of Medicine study

   found that covered entities’ “[f]inancial gains” under the 340B Program post-2010 “have not been

   associated with clear evidence of expanded care or lower mortality among low-income patients.”

   Sunita Desai & J. Michael McWilliams, Consequences of the 340B Drug Pricing Program, 378

   N. ENGL. J. MED. 539, 539 (Feb. 8, 2018); see also 2018 GAO Report at 10.

          64.     Even members of Congress have elevated concerns about for-profit, retail

   pharmacy chains taking advantage of the 340B Program to turn enormous profits. In July 2013,

   for example, U.S. Senator Chuck Grassley sent a letter to Walgreens CEO Gregory Wasson

   detailing concerns about Walgreens’ 5,400 contract pharmacy locations and demanding

   information such as a “summary of all profits generated as a result of participating in the 340B

   [P]rogram as a contract pharmacy.” See Ltr. from U.S. Sen. C. Grassley to G. Wasson (July 31,

   2013), https://bit.ly/3rFSE6N. The letter reported that Walgreens employees projected dispensing

   340B discounted drugs through Walgreens contract pharmacies would “add a minimum of $250

   million” in revenue over a 5-year period. Id. (emphasis added).

          65.     Those projections were accurate—if anything, they understated the amount the

   pharmacies stood to make. A September 2020 analysis by an investment bank confirmed that

   Walgreens had generated profits through 340B contract pharmacy arrangements “in the hundreds




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   of millions.” See Raymond James, supra (emphasis added). This is why Walgreens’ October 15,

   2020 10-K regulatory filing reported that any pricing changes “in connection with the federal 340B

   drug pricing program[] could significantly reduce our profitability.” See Walgreens Boots

   Alliance, Inc., Form 10-K, at 23 (Oct. 15, 2020), https://bit.ly/2MoLX9d (emphasis added).

          66.     Uninsured patients also suffer from this contract pharmacy abuse. The HHS Office

   of Inspector General (“OIG”) found that many contract pharmacies do not offer 340B discounted

   prices to uninsured patients. HHS-OIG, Memorandum Report: Contract Pharmacy Arrangements

   in the 340B Program, OEI-05-13-00431, at 2 (Feb. 2014), https://bit.ly/2LwZrzl. As a result,

   “uninsured patients pay the full non-340B price for their prescription drugs at contract

   pharmacies.” Id.; see also Desai & McWilliams, supra, at 539 (340B-related “[f]inancial gains”

   post-2010 “have not been associated with clear evidence of expanded care or lower mortality

   among low-income patients.”).

          B.      Contract Pharmacy Arrangements Flout the 340B Statute’s Explicit
                  Prohibitions on Diversion and Duplicate Discounts

          67.     In addition to capturing as profits the price savings intended to benefit patients in

   need for price assistance on life-saving prescription medicines, contract pharmacy arrangements

   have also led to diversion and duplicate discounts. As described above, contract pharmacy

   arrangements arguably constitute diversion per se. But even if the transfer of discounted drugs

   from a covered entity to a contract pharmacy (i.e., an entity that is not the covered entity’s own

   patients) is not diversion per se, contract pharmacy arrangements increase the incidence of a

   second and no less troublesome form of diversion in all events.          Contract pharmacies fill

   prescriptions for both 340B and non-340B patients, and many contract pharmacies do not

   determine eligibility until weeks after the patient receives her prescription, meaning contract




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   pharmacies can improperly claim discounts for ineligible patients. In other words, they claim

   340B discount prices for drugs provided to patients not eligible under the 340B Program.

          68.     Since 2010, government agency reports have disclosed shocking numbers of 340B

   violations by contract pharmacies, including violations of the prohibition on drug diversion to

   ineligible patients and the prohibition on “duplicate discounts”—i.e., where the entity buying the

   drug from the manufacturer makes the manufacturer pay both a 340B discount and a Medicaid

   rebate on the same utilization, see 42 U.S.C. § 256b(a)(5)(A). See, e.g., GAO, Manufacturer

   Discounts in the 340B Program Offer Benefits, But Federal Oversight Needs Improvement, GAO-

   11-836 (“2011 GAO Report”), at 28 (Sept. 2011) (“Operating the 340B program in contract

   pharmacies creates more opportunities for drug diversion compared to in house pharmacies.”),

   https://bit.ly/2JvWKgJ.

          69.     In 2018, as the number of contract pharmacies burgeoned without any government

   oversight, the HHS OIG acknowledged before Congress that it had “identified a number of

   challenges and inconsistencies arising from the widespread use of contract pharmacy

   arrangements.” HHS OIG Testimony, Examining Oversight Reports on the 340B Drug Pricing

   Program, Testimony of Ann Maxwell, Assistant Inspector Gen. for Evaluation and Inspections,

   OIG Before the U.S. S. Comm. on Health, Educ., Labor, and Pensions, at 5 (May 15, 2018),

   https://bit.ly/3lCv4Uj. That same HHS OIG testimony revealed that certain contract pharmacies

   unlawfully diverted drugs through their uncontrolled inventory management practices: “many

   contract pharmacies dispense drugs to all of their customers—340B-eligible or otherwise—from

   their regular inventory.” Id. at 6 (emphases added).

          70.     Another GAO report found that two-thirds of 340B diversion violations uncovered

   in HRSA audits “involved drugs distributed at contract pharmacies.” 2018 GAO Report at 44.




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          71.      Publicly available HRSA audits underscore pervasive compliance issues involving

   contract pharmacies. HRSA audits routinely uncover dozens of instances of unlawful 340B drug

   diversions, despite HRSA auditing fewer than 200 entities per year:

                                     Entities with Contract      Entities with Contract
                 Fiscal    Entity
                                      Pharmacy Adverse            Pharmacy Adverse
                 Year      Audits
                                         Findings (All)          Findings (Diversion)

                 2013         94               32                          21
                 2014         99               51                          38
                 2015        201               92                          64
                 2016        200               81                          68
                 2017        199               83                          63
                 2018        200               63                          43
                 2019        199               30                          20

   Source:     HRSA, 340B Program Integrity, Audits of Covered Entity Results (Apr. 2020),

   https://bit.ly/38MxknH.

          C.       The Government Has Utterly Failed to Rectify These Abuses

          72.      These marked shifts away from the 340B Program’s intended goals come as no

   surprise to industry players, who vociferously objected to HRSA’s 2010 expansion.

          73.      When HRSA issued the 2010 guidance that allowed covered entities to enter into

   an unlimited number of contract pharmacy arrangements, industry stakeholders expressed concern

   that the guidance expanding distribution to an unlimited number of contract pharmacies—entities

   never mentioned in the statute—was unlawful and unauthorized under the 340B statute.

          74.      Stakeholders also expressed concern that expanding the Program to allow covered

   entities to enter into an unlimited number of arrangements with commercial contract pharmacies

   would cause program integrity issues, increasing the risk of the already-widespread

   noncompliance with the statute’s requirements for covered entities and prohibitions on drug

   diversion and duplicate discounts, and that the financial incentives related to participating in the




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   340B Program, coupled with HRSA’s proposal to permit unlimited contract pharmacy

   relationships, would inevitably cause for-profit contract pharmacies to dominate the Program. As

   one commenter put it, HRSA’s “guidelines do not adequately describe safeguards that will combat

   drug diversion and duplicate discounts.” 75 Fed. Reg. at 10,273.

          75.      The government was, and remains, well aware of the abuses the contract pharmacy

   model has precipitated. See, e.g., id. (noting but waiving away such concerns); Exhibit (“Exh.”) A

   (Ltr. from Reps. Larry Bucshon, M.D., & Brad Wenstrup, D.P.M., to The Honorable Alex M.

   Azar, II (Oct. 15, 2020)) (“We have received reports that covered entities and/or their contract

   pharmacies are able to charge uninsured and potentially under-insured individuals mark-ups on

   prescriptions [sic] drugs” and “that patients in the 340B program, including the uninsured, can—

   and often do—bill cash-paying patients the ‘usual and customary’ pharmacy price plus a

   dispensing fee.”); see also, e.g., 2018 GAO Report at 44 (approximately two-thirds of diversion

   “involved drugs distributed at contract pharmacies”); HHS OIG Testimony, supra, at 5 (OIG

   “identified a number of challenges and inconsistencies arising from the widespread use of contract

   pharmacy arrangements”); H. Energy & Commerce Committee, Review of the 340B Drug Pricing

   Program, at 75 (Jan. 20, 2018) (HRSA’s guidance “has led to concerns about whether the money

   is truly devoted to improving patient care”), https://bit.ly/3pyqNUk; 2011 GAO Report at 28

   (contract pharmacy model “creates more opportunities for drug diversion compared to in-house

   pharmacies”).

          76.      Yet HRSA and HHS have completely ignored these realities—and the text of the

   340B statute—for a decade now, thus allowing for-profit pharmacy chains to come to represent a

   disproportionate share of this contract pharmacy expansion. See 2018 GAO Report at 21; see also

   GAO, HHS Uses Multiple Mechanisms to Help Ensure Compliance with 340B Requirements,




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   GAO-21-107 (“2020 GAO Report”), at 15-16 (Dec. 2020) (noting that HRSA stopped auditing

   contract pharmacies “because the 340B statute does not address contract pharmacy use” and thus

   provides no standard against which to audit contract pharmacies’ abuses), https://bit.ly/3hfFVD8.

   V.     Lilly Introduced Distribution Plans Designed To Curb Contract Pharmacy Abuses
          Consistent With The 340B Statute

          77.     Against this backdrop, Lilly introduced a new distribution program that complies

   with the 340B statute’s text and purpose and would curb the abuses the 2010 guidance unleashed.

          78.     Effective July 1, 2020, Lilly instructed its wholesalers to provide 340B discounts

   exclusively to covered entities and their child sites—and not to contract pharmacies—for certain

   formulations of Cialis® (tadalafil). Lilly limited its July 2020 plan to those Cialis® products

   indicated for erectile dysfunction and for which a generic formulation was available. The Cialis®

   distribution plan included an exception for covered entities that do not have an in-house pharmacy,

   permitting them to designate one contract pharmacy location as eligible to receive 340B discounts.

          79.     In August 2020, after rolling out the transition for Cialis® products, Lilly extended

   its distribution plan to all of Lilly’s covered outpatient drugs under the 340B Program.

          80.     Reflecting Lilly’s commitment to the original goal of the Program, however, Lilly

   is continuing to allow covered entities that lack an in-house pharmacy to designate a single contract

   pharmacy at which 340B medicines may be dispensed, and Lilly also allows contract pharmacies

   that are wholly owned by a covered entity to access 340B-priced product. Lilly also recently began

   to allow covered entities with an in-house pharmacy that does not dispense retail products to

   designate a single retail contract pharmacy. As these accommodations make clear, Lilly fully

   intends to continue to work flexibly with all stakeholders to refine its distribution plan as needed.




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          81.     To be clear: Lilly continues to offer all covered outpatient drugs to all covered

   entities at (or below) the ceiling price, and even continues to allow contract pharmacies to dispense

   its 340B product when a covered entity lacks the capacity to dispense prescription medicines itself.

          82.     Furthermore, reflecting Lilly’s commitment to making insulin products affordable,

   and following on the heels of an Executive Order issued by the President on July 24, 2020, Lilly

   made an exception for insulin patients, under which a covered entity may use a contract pharmacy

   to dispense insulin to 340B patients so long as the contract pharmacy agrees to pass on the entire

   340B discount—in this case, one-penny-per-milliliter prices—to the patient.

          83.     The Executive Order echoes key concerns that many stakeholders, including

   government entities and officials, have expressed about the 340B Program—namely, that “one

   penny per unit … steep [340B] discounts … are not always passed through to low-income

   Americans at the point of sale,” and that “[t]hose with low-incomes can be exposed to high insulin

   and injectable epinephrine prices, as they often do not benefit from discounts negotiated by

   insurers or the Federal or State governments.” Exec. Order No. 13,937, 85 Fed. Reg. 45,755 (July

   29, 2020) (ordering HHS to ensure that future grants available to Federally Qualified Health

   Centers, one type of 340B covered entity, be conditioned on making insulin and injectable

   epinephrine available to patients at the 340B-discounted price).         In other words, contract

   pharmacies failed to pass along 340B discounts even though they purchased insulin products at

   one penny per milliliter.

          84.     These voluntary measures by Lilly are consistent with other patient-focused

   programs Lilly has initiated to help patients reduce out-of-pocket expenses, particularly uninsured

   patients, senior citizens covered by Medicare Part D, and patients with high-deductible plans.




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        85.       For instance, Lilly provides automatic discounts at retail pharmacies to any patient

   with commercial insurance, capping monthly insulin costs at $95. Lilly also distributes three non-

   branded insulins with a list price 50 percent lower than brand name alternatives and donates insulin

   for distribution at free clinics for qualifying patients with demonstrated financial need. In 2019,

   Lilly’s insulin affordability solutions helped up to 20,000 patients per month, decreasing patients’

   out-of-pocket spending by 65 percent on average. And Lilly expanded its patient affordability

   options for insulin last year to respond to the financial consequences of COVID-19, announcing

   in April 2020 that both uninsured and commercial-insurance patients can purchase a prescription

   of certain Lilly insulin products for $35 a month through the Lilly Insulin Value Program. Lilly

   also recently began participating in the CMS Innovation Center’s Medicare Part D insulin cost

   sharing program, making affordable insulin available for patients covered by Medicare Part D.

        86.       Early in the pandemic, Lilly developed, at its own expense, a highly accurate

   COVID-19 test that it administered for free to front-line healthcare workers and first responders

   in Indiana. Lilly has also devised and made available ventilator splitters that allowed ventilators

   to serve two patients at once. In addition, Lilly has invested hundreds of millions of dollars

   developing COVID-19 treatments—including two monoclonal antibody treatments already in

   human trials and two other molecules to treat COVID-19-induced acute respiratory distress

   syndrome—and recently received emergency use authorization for two COVID-19 treatments.

          87.     Lilly also donates substantial sums to the Lilly Cares program, an independent

   501(c)(3) that provides up to a one-year supply of Lilly medications for free to low-income patients

   with no insurance, Medicare Part D, and in some instances commercial insurance.




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   VI.    HRSA First Approves Lilly’s Distribution Plan, But Then—After Telling The Public
          It Lacks Authority To Do So—Threatens Sanctions In Response To Lilly’s Attempt
          To Comply With Section 340B And To Halt Contract Pharmacy Diversion

          A.      HRSA Repeatedly Confirms that the 1996 and 2010 Contract Pharmacy
                  Guidance Are “Not Legally Enforceable”

          88.     Lilly was transparent with the government about its distribution plans, informing

   the government of both the initial Cialis® plan and the later expanded plan.

          89.     Lilly first notified HRSA in May 2020 that it intended to implement the Cialis®

   distribution plan effective July 1, 2020. See Exh. B. Lilly explained to HRSA that it did “not

   believe 340B-priced purchases for contract pharmacies are consistent with or required by” the

   340B statute, and it accordingly would “no longer honor contract pharmacy-related requests” for

   the three Cialis® formulations “[u]nless HRSA objects and states that it believes [Lilly’s] proposed

   discontinuation of voluntary contract pharmacy 340B discounts is unlawful, providing [Lilly] the

   reasons for its conclusions.” Id. at 1-2.

          90.     HRSA responded on June 11, 2020, that “contract pharmacies” “are not

   independent covered entities” and that its “contract pharmacy advice” was “guidance” and “not

   binding regulations.” Exh. C at 1-2. To be clear: HRSA did not state that Lilly’s Cialis®

   distribution plan was unlawful or identify any statutory provision that it violated.

          91.     Lilly followed up with HRSA on June 16, 2020, thanking HRSA for “confirming”

   that the agency’s contract pharmacy guidance “does not impose binding obligations on

   manufacturers” requiring them to offer 340B discounts to contract pharmacies. Exh. D at 2-3.

   Lilly also pointed out that, in HRSA’s June 11 response, the agency “did not say that [Lilly is]

   prohibited from moving forward” or “that [Lilly’s] proposed action would, in fact, violate the

   statute.” Lilly thus asked HRSA to correct any misinterpretation by Lilly on that score. Id. at 2.




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          92.     HRSA responded to Lilly on June 18, 2020. Far from stating that Lilly had

   misunderstood HRSA’s position, HRSA confirmed that it “look[ed] forward to receiving” Lilly’s

   manufacturer notice announcing its Cialis® distribution plan for posting on the HRSA website.

   Id. at 1-2. For the second time, HRSA failed to identify any statutory provision that Lilly’s

   distribution plan violated and did not assert that the distribution plan was in any way unlawful.

          93.     On June 26, 2020, Lilly provided the published notice relating to its Cialis

   distribution plan, and again invited HRSA to raise any questions or concerns that it might have.

   See id. at 1. HRSA responded on June 29, 2020, stating that it did not have any further questions

   at this time; HRSA then posted Lilly’s notice to covered entities on its 340B Program website on

   July 1, 2020, without objection. See HRSA, Manufacturer Notices to Covered Entities (July 2020)

   (linking to Limited Distribution Plan Notice for Cialis® (tadalafil) Erectile Dysfunction NDCs,

   https://bit.ly/3n3DaWS), https://bit.ly/3hzDOua.

          94.     Days later, a 340B-focused publication, the 340B Report, published an article

   quoting HRSA’s reaction to Lilly’s Cialis® distribution program and confirming that its 2010

   Contract Pharmacy Guidance was non-binding, this time describing it as “not legally enforceable”:

                  The 2010 guidance is still in effect. However, guidance is not
                  legally enforceable. Regarding the 340B Program’s guidance
                  documents, HRSA’s current authority to enforce certain 340B
                  policies contained in guidance is limited unless there is a clear
                  violation of the 340B statute.

   Tom Mirga, HRSA Says its 340B Contract Pharmacy Guidance Is Not Legally Enforceable, 340B

   Report (July 9, 2020), https://bit.ly/2X0I1xe. And far from asserting that Lilly’s conduct was

   unlawful, the article stated that “[i]t appears now that HHS and HRSA have concluded that Lilly

   cannot be compelled to provide 340B discounts on drugs dispensed by contract pharmacies.” Id.

   Lilly came to the same conclusion based on its communications with the agency.




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          95.     Thereafter, on July 16, 2020, 340B Coalition (a trade association for 340B

   hospitals) and certain other 340B covered entity stakeholders wrote to Defendant Azar, asking him

   to declare that Lilly’s Cialis® distribution program violated the 340B statute—specifically, that it

   violated the requirement that manufacturers “offer each covered entity” no more than the ceiling

   price for all “covered outpatient drugs.” See 42 U.S.C. § 256b(a)(1) (emphasis added).

          96.     In response to that intervention, Lilly sent a letter to Defendant HHS the next day,

   describing its communications with HRSA and explaining why Lilly’s distribution plan complies

   with the 340B statute. Exh. E. HHS did not respond to Lilly for over two months (as discussed

   below), and even then, never stated that Lilly’s distribution plan would violate the 340B statute.

          B.      HRSA and HHS Suddenly Change Course, Threatening Lilly with Sanctions

          97.     On August 19, 2020, with the transition for the Cialis® products underway, Lilly

   informed HRSA that it would extend its new distribution plan to include all of Lilly’s covered

   outpatient drugs under the 340B Program (i.e., not just Cialis), by “discontinu[ing] [its] practice

   of voluntarily honoring requests for 340B ‘contract pharmacies’ for orders on all Lilly products.”

   Lilly explained that HRSA had already confirmed that the 2010 Contract Pharmacy guidance was

   non-binding when discussing the plan for Cialis® and “the legal analyses performed previously

   by HRSA and Lilly apply equally here.” Exh. F at 1. And as with its Cialis® program, Lilly

   provided HRSA an opportunity to object to Lilly’s plan and, if it did, to explain its reasoning by

   August 31, 2020. See id. Lilly also provided HRSA with an updated Limited Distribution Plan

   Notice for posting on the agency’s manufacturer notices website on September 1, 2020, the

   effective date of Lilly’s new distribution plan. See Exh. G.

          98.     On August 26, 2020, HRSA sent Lilly a letter (Exh. H) purporting to respond not

   only to Lilly’s August 19 expansion letter, but also to the original Cialis® program letter dated




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   May 18, 2020—even though correspondence for that initial program had ended more than a month

   earlier with HRSA stating that the agency did not have any further questions, see Exhs. A, B.

          99.     Although HRSA and HHS had previously declined to state that Lilly’s conduct was

   unlawful despite at least four opportunities to do so, HRSA threatened that Lilly could be subject

   to sanctions if it followed through with its expanded distribution plan. Specifically, in its August

   26 response to Lilly, HRSA stated that it was “considering whether your new proposed policy

   constitutes a violation of section 340B and whether sanctions apply,” including, but “not limited

   to, civil monetary penalties pursuant to 42 U.S.C. § 256b(d)(1)(B)(vi).” Exh. H at 1.

          100.    Given the significance of HRSA’s threat, which carried the prospect of subjecting

   Lilly to CMPs—not to mention the potential revocation of Lilly’s PPA and thus ability to

   participate in and receive reimbursements pursuant to Medicare Part B and Medicaid—Lilly

   responded to HRSA the next day (August 27, 2020). See Exh. I. In its August 27 letter, Lilly

   reiterated its position that its distribution program was entirely lawful under the plain text and

   original understanding of the 340B statute. See id. at 1. Lilly also highlighted the imminent harm

   resulting from HRSA’s “threats of sanctions,” which were transparently designed to force Lilly to

   acquiesce to HRSA’s position. Id. Lilly accordingly requested that HRSA “confirm by August

   31st that nothing in the 340B Statute prohibits the Cialis Limited Distribution Plan or an expansion

   of that plan,” and that if HRSA believed there was a “violation of the statute, [to] please identify

   with specificity the agency’s grounds for that position.” Id.

          101.    HRSA neither responded nor posted Lilly’s updated notice on its website. Instead,

   on September 2, 2020, it released a new public statement to the 340B Report reiterating its threat.

   HRSA stated to the 340B Report that it was “considering whether manufacturer policies, including

   Lilly’s, violate the 340B statute and whether sanctions may apply.” Bronwyn Mixter, HRSA is




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   Investigating Whether Manufacturer Policies to Restrict 340B Pricing at Contract Pharmacies

   Violates Statute, 340B Report (Sept. 2, 2020) (emphasis added), https://bit.ly/3aWgZPT.

           102.    In light of these threats, Lilly reached out to HHS on September 8, 2020, seeking

   “confirmation that HHS is not considering, and will not consider, sanctions against Lilly in

   response to Lilly’s stated plan to discontinue providing 340B discounts to contract pharmacies.”

   Exh. J at 1; see also id. at 1-5.

           103.    HHS responded nearly two weeks later on September 21, 2020. See Exh. K. HHS

   did not state that Lilly’s distribution plan was unlawful. See id. Nor did it identify a single

   statutory provision that the plan violates. See id. Nevertheless, HHS declined to state that neither

   HRSA nor HHS was considering sanctions against Lilly. See id. And rather than defusing HRSA’s

   threats of sanctions against Lilly, HHS issued a threat of its own, telling Lilly to “bear in mind”

   that a private “qui tam False Claims Act” action (which carries the potential of huge damages) is

   a “potential consequence in the event that Lilly knowingly violates a material condition of the

   program that results in over-charges to grantees and contractors.” Id. at 2.

           104.    HHS     immediately   posted    this   threat   on   its   public   website.    See

   https://www.hrsa.gov/sites/default/files/hrsa/opa/pdf/hhs-eli-lilly-letter.pdf (last visited May 25,

   2021). After that public posting, many covered entities reached out to Lilly to demand that Lilly

   reverse its distribution plan and offer full 340B discounts to all contract pharmacies. HRSA still

   did not post Lilly’s updated manufacturer notice on its 340B website.

           105.    On December 9, 2020, HRSA sent a letter to the CEO of 340B Health, a group that

   represents covered entities, regarding the modified distribution programs of Lilly and other

   manufacturers, stating that it was “continuing to review the various proposals and whether these

   actions by manufacturers violate the 340B statute and whether sanctions may apply.” Exh. L at 1.




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   HRSA added that it was “working closely with each impacted covered entity,” “actively

   investigating the matter in order to make a final determination as to any potential action.” Id. at

   2. HRSA still did not post Lilly’s updated notice on its 340B website (and has not to this day).

          106.    In early- and mid-December 2020, the GAO reported that HRSA acknowledged

   that “the 340B statute does not address contract pharmacy use,” 2020 GAO Report at 16, and

   counsel for HHS and HRSA described movements to compel “participation through contract

   pharmacies” as improper attempts to foist “wholesale changes to an agency program” on the

   government, see Defs.’ Mot. to Dismiss for Lack of Jurisdiction 19-20, Ryan White Clinics for

   340B Access v. Azar, No. 20-cv-2906 (D.D.C. Dec. 14, 2020), Dkt. 41.

   VII.   HRSA Issues A Final Decision Concluding, Contrary To The Text And Purpose Of
          The Statute, That Manufacturers Must Offer 340B Discounts To An Unlimited
          Number Of Contract Pharmacies Whenever Covered Entities Ask

          107.    On December 30, 2020, Defendants resolved any doubt about their position on the

   issue. They did so by issuing a decision making clear that they now (incorrectly) “conclude” that

   “a drug manufacturer in the 340B Program is obligated to deliver its covered outpatient drugs to

   those contract pharmacies and to charge the covered entity no more than the 340B ceiling price

   for those drugs” whenever a contract pharmacy acts as a covered entity’s “agent.” December 30

   Decision at 1 (emphasis added); see also HHS Releases Advisory Opinion Clarifying that 340B

   Discounts Apply to Contract Pharmacies (Dec. 30, 2020) (noting that HHS “has clarified that drug

   manufacturers must provide 340B discounts when a contract pharmacy is acting as an agent of a

   covered entity, providing services on behalf of the covered entity”), https://bit.ly/38Qh0lB.

          108.    In issuing that decision, Defendants acknowledged that they are not “authorized to

   add requirements to the [340B statute].” December 30 Decision at 2.

          109.    Defendants further recognized that “the core requirement of the 340B statute, as

   also reflected in the PPA and Addendum, is that manufacturers must ‘offer’ covered outpatient


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   drugs at or below the ceiling price for ‘purchase by’ covered entities.” Id. at 2 (emphasis added).

   (Recall that Lilly in fact is continuing to offer all covered outpatient drugs to covered entities at or

   below the ceiling price, and has always done so.)

          110.    Defendants nonetheless “conclude[d]”—for the first time, and in contrast to every

   other pronouncement HRSA and HHS had previously made on the subject—that “the plain text of

   the statute” requires manufacturers participating in the 340B Program to offer discounts to contract

   pharmacies whenever a covered entity is the one that placed the order for the drugs. Id. at 3.

          111.    Defendants’ cursory textual analysis began from the “understand[ing]” that the

   340B Program functions as follows in practice: “the medications at issue are sold by the

   manufacturer to the covered entity; the covered entity takes title and the covered entity pays the

   manufacturer either directly or through the manufacturer’s distributor.” Id.

          112.    Defendants then concluded that, under the 340B statute, “[t]he situs of delivery, be

   it the lunar surface, low-earth orbit, or a neighborhood pharmacy, is irrelevant” to the statutory

   obligation to charge no more than the ceiling price. Id.

          113.    That was the sum-total of Defendants’ textual analysis. Defendants did not address

   the fact that Congress exhaustively enumerated 15 types of entities as “covered entities” and

   specifically limited that class to non-profit healthcare providers, or that the 340B statute authorizes

   HHS and HRSA to impose CMPs for “each instance” that a manufacturer “knowingly and

   intentionally” overcharges “a covered entity,” 42 U.S.C. § 256b(d)(1)(B)(vi)(II)-(III), not “a

   covered entity or its non-in-house pharmacy” or “a covered entity and its contract pharmacy.” And

   they likewise nowhere reconciled their conclusion with the fact that the statute unambiguously

   distinguishes between “covered entities” and agents—i.e., “associations or organizations

   representing the interests of [] covered entities,” “wholesalers,” and “distributors.” See id.




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   § 256b(d)(1)(B)(v), (2)(B)(iii), (3)(B)(vi). Nor did they reconcile this novel interpretation, which

   requires manufacturers to offer 340B discounts to an unlimited number of contract pharmacies,

   with the position they had taken for approximately fifteen years (and had reiterated mere months

   before) that the guidance allegedly creating this “obligation” is “legally unenforceable.”

        114.      Nor did Defendants acknowledge, let alone defend against, the severe constitutional

   concerns raised by a requirement that one set of private parties (manufacturers) offer another set

   of for-profit private parties (contract pharmacies) massive discounts on pain of having their ability

   to participate in and be reimbursed under Medicare Part B and Medicaid. See Kelo v. City of New

   London, 545 U.S. 469, 477 (2005) (“[I]t has long been accepted that the sovereign may not take

   the property of A for the sole purpose of transferring it to another private party B.”).

          115.    Instead of tackling any of these arguments head-on, Defendants simply waived

   them away as bad-faith “attempt[s] to circumvent section 340B’s procedures for resolving disputes

   between manufacturers and covered entities.” December 30 Decision at 5.

          116.    Defendants spent the majority of the Decision rejecting “[t]he argument that

   [because] the statute also evinces a purpose to prevent drug diversion or duplicate discounting, [it]

   therefore prohibits contract-pharmacy arrangements.” Id. at 3 n.2; see id. at 4-7. Notably,

   however, Defendants did not dispute that contract pharmacy arrangements have multiplied the

   incidence of diversion and duplicate discounting exponentially. Nor could they: Defendants had

   previously recognized that fact many times. See, e.g., Kenneth Yood, Maneuvers on the 340B

   Drug Pricing Program Battlefield: Duplicate Discounts and Contract Pharmacies, Healthcare

   Law Blog (Sept. 29, 2020) (“In a 2011 GAO report, … the GAO concluded that the ‘increased use

   of the 340B program by contract pharmacies and hospitals may result in greater risk of drug

   diversion, further heightening concerns about HRSA’s reliance on participants self-policing to




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   oversee the program’”; and “[i]n a 2014 OIG report, … the OIG found that contract pharmacies

   create ‘complications’ in preventing diversion and duplicate discounts.”), https://bit.ly/3bsQ0fh.

        117.       Defendants made no mention of the fact that their decision to mandate that

   manufacturers provide an unlimited number of contract pharmacies with 340B-priced drugs forces

   manufacturers like Lilly either to transfer their property, in the form of the prescription medicines

   they manufacture, to for-profit entities at a devastating financial loss, or to choose not to and suffer

   the economic equivalent of the death penalty by losing their ability to participate in and be

   reimbursed under critical federal healthcare programs. See Koontz v. St. Johns River Water Mgmt.

   Dist., 570 U.S. 595, 606 (2013) (“Our precedents … forbid[] the government from engaging in

   ‘out-and-out … extortion’ that would thwart the Fifth Amendment” by coercing individuals into

   relinquishing their property without proper “just compensation.” (third alteration in original)

   (quoting Nollan v. Cal. Coastal Comm’n, 483 U.S. 825, 837 (1987))).

          118.     Nor did Defendants refute that the two mechanisms contract pharmacies use in

   capturing 340B discounts intended only for covered entities both necessarily effect a prohibited

   diversion of 340B-discounted drugs to the contract pharmacy. In fact, the Decision does not

   mention this concern at all, instead brushing it aside via a reductive purpose analysis that cannot

   be squared either with the text of the statute or with the reality of how the Program operates. But

   these diversions mechanisms that Defendants ignored illustrate how the contract pharmacy system

   is ripe for abuse. First, under the “retroactive replenishment” model, contract pharmacies do not

   segregate 340B inventory from non-340B inventory; rather, they have their own stock of

   inventory, purport to track dispensed prescriptions to the patients of 340B covered entities with

   which they have contracts, and then supposedly retroactively seek to “replenish” product at 340B

   pricing.    For those prescriptions, they secure—through an entirely retrospective process—




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   replacement product at 340B pricing when the covered entity places an order with instructions to

   ship directly to the contract pharmacy. See Alliance for Integrity and Reform of 340B, The Impact

   of Growth in 340B Contract Pharmacy Arrangements, at 1 (July 2014) (“data indicates that neither

   the pharmacy nor the patient know that the transaction is ‘340B’ at the point of sale”),

   https://bit.ly/3mRQ4YR; Nat’l Council for Prescription Drug Programs, 340 Information

   Exchange Reference Guide, at 8-9 (June 2019), https://bit.ly/2JJVtCY. The 340B product, once

   transferred to a contract pharmacy, is then sold by the contract pharmacy in its own name to its

   own patients. Second, under the “physical inventory” system, the product is transferred directly

   from the wholesaler to the contract pharmacy, the latter of which sells it to a customer who appears

   at its counter. Under this model, the covered entity never takes possession of the product. Because

   both models entail the use of a “ship-to/bill-to” arrangement where covered entities purchase 340B

   drugs with instructions to ship directly to the contract pharmacy, an action to mandate that

   manufacturers honor requests for 340B discounts for contract pharmacy transactions would result

   in statutorily prohibited diversion of 340B-discounted product to independent commercial actors

   that are not covered entities or patients of covered entities, in violation of the 340B statute.

   VIII. The Congressional Mandate, Demise, and Sudden Resurrection of the ADR Rule

          A.      Congress Amends the 340B Statute to Require Defendants to Establish an
                  ADR Procedure within 180 Days

          119.    Congress amended the 340B statute in March 2010 as part of the Patient Protection

   and Affordable Care Act (“ACA”), Pub. L. No. 111-148, § 7102(a), 124 Stat. 119 (2010).

          120.    Most relevant here, the ACA amendments required Defendant HHS to promulgate

   regulations establishing an ADR process for resolving 340B price disputes between covered

   entities and manufacturers. See id., 124 Stat. at 826-27 (codified at 42 U.S.C. § 256b(d)(3)).

          121.    The ADR regulations were to be promulgated within 180 days of enactment:



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                  Not later than 180 days after the date of enactment of the Patient
                  Protection and Affordable Care Act, the Secretary shall promulgate
                  regulations to establish and implement an administrative process for
                  the resolution of claims by covered entities that they have been
                  overcharged for drugs purchased under this section, and claims by
                  manufacturers, after the conduct of audits as authorized by
                  subsection (a)(5)(D), of violations of subsections (a)(5)(A) or
                  (a)(5)(B), including appropriate procedures for the provision of
                  remedies and enforcement of determinations made pursuant to such
                  process through mechanisms and sanctions.

   Id.

          122.    The ACA amendments further instructed that these “[r]egulations promulgated by

   the Secretary” must “designate or establish a decision-making official or body within the

   Department of Health and Human Services to be responsible for reviewing and finally resolving

   claims by covered entities that they have been charged prices for covered outpatient drugs in excess

   of the ceiling price … and claims by manufacturers that violations of [statutory prohibitions on

   conduct like diversion] have occurred.” Id. (codified at 42 U.S.C. § 256b(d)(3)(B)(i)).

          123.    The statute further directed that “[t]he administrative resolution of a claim or claims

   under the regulations promulgated under subparagraph (A) shall be a final agency decision and

   shall be binding upon the parties involved, unless invalidated by an order of a court of competent

   jurisdiction.” Id., 124 Stat. at 827 (codified at 42 U.S.C. § 256b(d)(3)(C)).

          124.    The statute does not explicitly authorize any official of the Executive Branch to

   review, overturn, or modify the judgment of an ADR panel.




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          B.      HHS Belatedly Proposes, then Withdraws, the ADR Rule

          125.    Congress’s 180-day deadline came and went. It was not until August 12, 2016—

   nearly six years after the ACA’s enactment—that Defendants issued a Notice of Proposed

   Rulemaking (“NPRM”) suggesting ADR procedures. See 81 Fed. Reg. 53,381-01 (Aug. 12, 2016).

          126.    That NPRM proposed to resolve ADR claims through three-member panels

   “chosen from a roster of eligible individuals alternating from claim to claim, and one ex-officio,

   non-voting member chosen from the staff of [HHS’s Office of Pharmacy Affairs].” Id. at 53,382.

   Panel members would be “Federal employees (e.g., employees of [the Centers for Medicare &

   Medicaid Services, or CMS] or the U.S. Department of Veterans Affairs) with demonstrated

   expertise or familiarity with the 340B Program.” Id.

          127.    Importantly, ADR panelists would be appointed by the HHS Secretary, and could

   only be removed from an ADR panel “for cause.” Id. The only “for cause” removal scenario

   contemplated by the notice, moreover, was a conflict of interest. Id.

          128.    The NPRM proposed specific procedures for the adjudication of disputes brought

   before the ADR panels and suggested that covered entities and manufacturers would have three

   years to file a “written claim” to be resolved through the ADR process. Id. at 53,383. The NPRM

   specified that the ADR panel’s decisions would “be binding upon the parties involved, unless

   invalidated by an order of a court of competent jurisdiction.” Id. The NPRM did not provide for

   any appeals process for these binding decisions. In fact, it provided no opportunity for the

   Secretary to oversee, review, or in any way alter an ADR panel decision.

          129.    The NPRM did not specify any specific remedies that ADR panels might impose,

   requiring only that “the final agency decision letter also be submitted to [HRSA’s Healthcare

   Systems Bureau] to take enforcement action or apply sanctions, as appropriate.” Id.




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          130.     Lilly filed timely comments objecting to the proposed rule on October 11, 2016.

   See Exh. M. In particular, Lilly argued that HHS should (like many other administrative agencies)

   employ a neutral and disinterested adjudicator such as an ALJ. See id. at 8-10. Lilly reasoned that

   “the inclusion of an ‘ex-officio, non-voting’ HRSA employee undermines the guarantee that there

   would be a true separation of the regulatory and adjudicative functions” of the agencies. Id. at 9.

   The use of an ALJ, in contrast, would not pose this risk. Lilly further worried that nothing

   guaranteed that the ex-officio member would limit itself to giving purely technical advice, but

   would likely also “have some responsibility for HRSA rule making, investigation, and

   prosecution.” Id. at 10. Finally, Lilly noted that “by virtue of his or her well-developed views on

   how the program ‘should’ work … and his or her greater sophistication with the subject matter,”

   the ex-officio member could exert undue influence over the panel. Id. In sum:

                   Since that panel would be comprised of individuals who work at
                   HRSA and/or other federal agencies, those individual[s] are likely
                   to bring their policy predilections to bear. That is, they are more
                   likely than an ALJ to interpret regulations based on what they,
                   themselves, ‘intended’ for the regulation to mean or how it was
                   ‘intended’ to apply, irrespective of whether stakeholders could have
                   divined this intent or whether the evidence presented supported such
                   an outcome.

   Id. at 11-12.

          131.     Lilly also raised concerns that the rule would be biased against manufacturers if

   Defendants did not first update the guidelines used for auditing a covered entity. The 340B statute

   requires a manufacturer to complete an audit prior to filing a claim that a covered entity has

   engaged in diversion or duplicate discounts. See 42 U.S.C. § 256b(d)(3)(B)(i). Lilly explained

   that, based on its own experiences, the auditing guidelines imposed numerous burdensome and

   costly requirements on manufacturers that did not serve to facilitate the audit. As Lilly noted,

   “[t]he bureaucratic effort and expense imposed by the 1996 Audit Guidelines makes it untenable,



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   except in the most egregious cases, for Lilly to conduct additional audits.” Exh. M at 5.

   Defendants’ failure to update the guidelines would mean that manufacturers would be

   disproportionately disfavored in the ADR process, as covered entities could more easily access

   and use the process compared to manufacturers.

          132.    After the close of the notice-and-comment period, the ADR began appearing on the

   Unified Agenda of Federal Regulatory and Deregulatory Actions (“Unified Agenda”), a

   semiannual compilation of information about federal regulations under agency development. On

   August 1, 2017, however, the rule was summarily withdrawn from the Unified Agenda without

   explanation. See Office of Mgmt. & Budget, RIN: 0906-AA90: 340B Drug Pricing Program;

   Administrative Dispute Resolution Process, https://bit.ly/3biRMPH.

          133.    Three years passed, with no indication from HHS or HRSA that the ADR

   rulemaking remained pending. The NPRM never appeared again on the Unified Agenda, nor did

   the agency publish a new NPRM in the Federal Register.

          134.    In fact, on March 12, 2020, a HRSA official told The 340B Report that Defendants

   had no plans to issue an ADR rule. According to the official, “[i]t would be challenging to put

   forth rulemaking on a dispute resolution process when many of the issues that would arise for

   dispute are only outlined in guidance” that Defendants understood to be legally unenforceable.

   Tom Mirga, HRSA: 340B Dispute Resolution Will Stay on Hold Until We Get Broader Regulatory

   Authority, 340B Report (Mar. 12, 2020), https://bit.ly/3651i5z.

          C.      Under Litigation Pressure, HHS Suddenly Resurrects and Implements the
                  Previously Withdrawn Proposed Rule

          135.    On October 9, 2020, Ryan White Clinics for 340B Access and two affiliated 340B-

   covered entities filed a lawsuit in the United States District Court for the District of Columbia,




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   seeking to compel Defendants to promulgate the long-overdue ADR rules. See Compl. ¶¶ 99-100,

   Ryan White Clinics for 340B Access v. Azar, No. 20-cv-2906 (D.D.C. Oct. 9, 2020), Dkt. 1.

          136.    Two months after that lawsuit was initiated—and despite having withdrawn the

   NPRM and having publicly stated that it had no intention of promulgating a rule establishing an

   ADR process until after Congress further amended the 340B statutory scheme—HRSA suddenly

   published a final rule on December 14, 2020, without giving the public opportunity for notice and

   comment. See 85 Fed. Reg. 80,632-01 (Dec. 14, 2020).

          137.    The ADR Rule does not purport to invoke any statutory ground for excusing notice

   and comment (because there is none). Instead, it simply pretends that the agency had not, years

   earlier, withdrawn its NPRM, and then proceeds to alter and finalize its original proposal without

   further public input. See id. at 80,633 (claiming that the NPRM was not really withdrawn, just

   frozen by Presidential action). But that explanation is demonstrably false. First, the memorandum

   to which the agency refers on its face is inapplicable to the ADR Rule: That memorandum

   explicitly excluded “regulations subject to statutory … deadlines,” Reince Priebus, Asst. to the

   President and Chief of Staff, Memorandum for the Heads of Executive Departments and Agencies,

   (Jan. 20, 2017), https://bit.ly/2KIutnM, which obviously includes the ADR Rule, notwithstanding

   the agency’s defiance of Congress’s 180-day deadline. Second, the agency’s contemporaneous

   actions demonstrate that it itself believed the memorandum inapplicable: The memorandum

   ordered agencies to remove pending regulations to which it did apply “immediately,” id., but

   Defendants did not remove the ADR NPRM from the Unified Agenda for another eight months.

   And third, although regulatory actions retain the same Regulatory Identification Number (“RIN”)

   throughout the entire rulemaking process, the final Rule was designated with a different RIN than

   the NPRM. Compare 81 Fed. Reg. 53,381, with 85 Fed. Reg. 80,632.




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          138.    Ignoring the obligation to solicit public comment in a lawful and orderly way, the

   ADR Rule proceeds to finalize specific procedures for the resolution of disputes. It establishes a

   Board of “at least six members appointed by the Secretary”: two each from HRSA, CMS, and the

   HHS OGC, plus one non-voting ex-officio member from OPA. 85 Fed. Reg. at 80,634. Each

   three-person ADR panel would consist of one member drawn from each voting group. Id.

          139.    The ADR Rule makes no provision for any Board member’s removal from the

   Board, providing only that individual panel members can be removed from a panel “for cause.”

   Id. Like the NPRM, the final rule lists “a conflict of interest” as the only grounds for panel

   removal. Id.

          140.    In issuing the final rule, Defendants recognized that commenters had raised

   concerns that such a system would result in biased decisionmaking. But they cursorily brushed

   these concerns aside. According to the Rule, the ADR panels “are uniquely situated to handle the

   complexities of the 340B Program and related disputes,” and the ex-officio “OPA staff member

   would not exercise undue influence over the three voting members.” Id. at 80,634-35.

          141.    The Rule also made important changes regarding the remedies available to covered

   entities. Although the NPRM said nothing about the subject, the ADR Rule now provides that

   ADR panels can resolve claims for “money damages,” as well as other unspecified “equitable

   relief” sought by disgruntled litigants. Id. at 80,633.

          142.    Furthermore, the ADR Rule empowers panels to function like federal courts. It

   expressly grants panel members “significant discretion” in their adjudicative functions. Id. at

   80,635. A panel may “determine, in its own discretion, the most efficient and practical form of

   the ADR proceeding.” Id. at 80,645. It may require “submission of additional information,” and

   it has discretion to choose from an array of formidable sanctions if it concludes that its instructions




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   were inadequately complied with. See id.; 42 C.F.R. § 10.22(c) (permitting ADR panels to

   “[p]reclude a party from presenting or contesting a particular issue” or even enter judgment as a

   sanction). It has “discretion in admitting evidence and testimony” during the arbitration and may

   apply the Federal Rules of Civil Procedure and Federal Rules of Evidence. Id. at 80,641; see 42

   C.F.R. § 10.23. It even has the discretion to issue whatever “additional instructions as may be

   necessary or desirable governing the conduct of ADR proceedings.” 85 Fed. Reg. at 80,639; 42

   C.F.R. § 10.21. Finally, ADR panel decisions “will” be based only and entirely on the panel’s

   independent “review and evaluation of the evidence” and the governing law. 42 C.F.R. § 10.24(b).

          143.    The Rule also states that “[e]ach 340B ADR Panel will necessarily have jurisdiction

   to resolve all issues underlying any claim or defense, including, by way of example, those having

   to do with covered entity eligibility, patient eligibility, or manufacturer restrictions on 340B sales

   that the 340B ADR Panel deems relevant for resolving an overcharge, diversion, or duplicate

   discount claim.” 85 Fed. Reg. at 80,636. And, even more notable, it imbues ADR panels with the

   authority to issue binding, precedential, and self-executing judgments. In a stark departure from

   the NPRM, the Rule now provides that ADR panel decisions are both “binding” on the parties and

   “precedential” for purposes of future adjudications. Id. at 80,634; 42 C.F.R. § 10.20. The

   regulation provides that the ADR panel’s decision “constitutes a final agency decision that is

   precedential and binding on the parties involved unless invalidated by an order of a court of

   competent jurisdiction.” 42 C.F.R. § 10.24(d).

          144.    Adding insult to injury, the ADR Rule insulates ADR panel judgments from any

   review by a superior (much less Senate-confirmed) Executive Branch official. Indeed, when

   expressly addressing comments concerning the earlier NPRM noting the need for an internal




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   appeals process, the Rule stated that such a process was not “necessary given that an aggrieved

   party has a right to seek judicial review.” 85 Fed. Reg. at 80,641.

          145.    Nor does the ADR Rule purport to authorize any particular standard of judicial

   review. It does not, for instance, authorize de novo review in Article III courts of the private money

   judgments and equitable injunctions the ADR panelists are authorized to issue. Instead, it says

   only that review would be available under the APA and that “[t]he form of judicial review for

   ADR panel decisions is beyond the scope of this final rule.” Id. at 80,642.

   IX.    HRSA Doubles Down On Its December 30 Decision By Issuing A New Ultimatum
          Requiring Lilly to Fall In Line Immediately or Risk Massive Penalties

         146.     Lilly filed this lawsuit on January 12, 2021, seeking to set the December 30

   Decision aside as ultra vires under the statutory text, violative of the constitution, irregularly

   promulgated without notice and comment, and substantively arbitrary and capricious. Compl. for

   Decl. & Inj. Relief (Jan. 12, 2021), Dkt. 1. Lilly filed an amended complaint two weeks later,

   adding claims challenging HHS’s ADR Rule on similar grounds. See First Amended Compl. for

   Decl. & Inj. Relief ¶¶ 211-63 (Jan. 25, 2021), Dkt. 17. Lilly simultaneously filed a motion

   preliminarily enjoin the ADR Rule, see Pls.’ Mot. for Prelim. Inj. (Jan. 25, 2021), Dkt. 18, which

   the Court granted after full briefing and oral argument, see Order Granting Pls.’ Mot. for Prelim.

   Inj. (Mar. 16, 2021) (“ADR PI Op.”), Dkt. 81. The Court found that Defendants’ actions before

   belatedly promulgating the ADR Rule were “duplicitous[] and misleading—the antithesis of fair

   notice under the APA,” and, “[a]ccordingly,” concluded “that Plaintiffs have established with a

   fair likelihood of success that Defendants violated notice-and-comment rulemaking requirements

   under the APA” in promulgating the ADR Rule. Id. at 23. The Court found that Lilly would

   “suffer irreparable injury for which there is no adequate remedy of law” by virtue of having been

   “‘depriv[ed] of a procedural protection to which [Lilly is] entitled.’” Id. at 23, 25 (first alteration



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   in original) (quoting Sugar Cane Growers Co-op. of Fla. v. Veneman, 289 F.3d 89, 94 (D.C. Cir.

   2002)); see also id. at 25-26 (“[I]f the ADR Rule were permitted to go into effect and was later

   determined to have been promulgated without an adequate, fair opportunity for advance notice and

   comment, Plaintiffs would be deprived of their right, under the APA, to provide meaningful input

   into the agency’s decision at a time when it is most likely to be carefully considered, a harm which

   the Court would be unable to fully remedy after the fact.”). And the Court found that “the balance

   of harms and the public interest factors weigh in favor of Plaintiffs.” Id. at 27. The Court therefore

   entered an order preliminarily enjoining Defendants “from implementing or enforcing [the ADR

   Rule] against Plaintiffs” “until further order of this Court.” Prelim. Inj. (Mar. 16, 2021), Dkt. 82.

        147.      The lawsuit then proceeded to dispositive briefing on Lilly’s claims, including the

   central issue of whether the 340B statute permits HHS to require Lilly to provide its products to

   contract pharmacies at the steeply-discounted 340B prices under any circumstances. On May 17,

   2021, in the middle of the agreed-upon dispositive motion briefing on this and other claims and

   almost nine months after the government purportedly began its alleged “review” of Lilly’s

   distribution plan, see Dkt. 85, Defendant Diana Espinosa sent a Lilly executive (not its counsel)

   an extraordinary demand letter. See Exh. P (“May 17 Letter”).

        148.      The May 17 Letter announced that “HRSA has determined that Lilly’s actions have

   resulted in overcharges and are in direct violation of the 340B statute,” and demands that “Lilly

   must immediately begin offering its covered outpatient drugs at the 340B ceiling price to covered

   entities through their contract pharmacy arrangements” and must “credit or refund all covered

   entities for overcharges that have resulted from Lilly’s policy.” Id. at 1-2. The Letter then goes

   on to levy a number of threats, both open and veiled, against Lilly. The letter reminds Lilly that it




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   “signed a Pharmaceutical Pricing Agreement (PPA) and PPA addendum” and that “Lilly is bound

   by the terms of the PPA.” Id. at 1.

         149.      The letter goes on to warn that “[c]ontinued failure to provide the 340B price to

   covered entities utilizing contract pharmacies” will “result in CMPs” (which “would be in addition

   to repayment”) unless Defendant HHS is sufficiently satisfied with “Lilly’s willingness to comply

   with” HRSA’s unilaterally imposed view of Lilly’s “obligations under section 340B.” Id. at 1-2.

   And it concludes by “request[ing]” (i.e., demanding) “that Lilly provide an update on its plan to

   restart selling, without restriction, covered outpatient drugs at the 340B price to covered entities

   that dispense medications through contract pharmacy arrangements by June 1, 2021.” Id. at 2.

           150.    Unaccountably, the May 17 Letter’s explanation for its demands differs from the

   attempted justifications the government has given for the December 30 Decision, not only in the

   Decision itself, but also in the summary judgment brief it filed in this case less than a month earlier.

   The May 17 Letter makes no mention of the “agency” theory set out in the Decision and proffered

   by the government in its briefing in this case. Nor does it cite the “purchased by” language also

   relied on in the December 30 Decision and by the government in briefing. See MTD/MSJ 22-25.

   Instead, the May 17 Letter relies solely on the “must offer” language added to the 340B statute by

   the 2010 Affordable Care Act, see Pub. L. No. 111-148, Title VII, § 7102(b), 124 Stat. 119, 827

   (Mar. 23, 2010). See Exh. P at 1 (relying on the statutory requirement that “manufacturers

   ‘shall…offer each covered entity covered outpatient drugs for purchase at or below the applicable

   ceiling price if such drug is made available to any other purchaser at any price’”). By apparently

   jettisoning the agency theory, the Letter takes an even more extreme position than the December

   30 Decision—purporting to require Lilly to deliver discounted drugs to contract pharmacies,

   period, whether they act as the covered entities’ agents or not. See id. at 1-2. The Letter does not




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   acknowledge in any way that it encapsulates a different view than the December 30 decision, let

   alone any explanation for its changed position.

        151.      But the May 17 Letter marked more than a seismic shift in the explanation for the

   government’s approach; it also fundamentally changed who would be deciding whether Lilly was

   required to offer 340B prices to contract pharmacies. At oral argument on Lilly’s January 25

   motion for preliminary injunction, the government’s unequivocal position was that although “the

   agency has determined that covered entities have a right generally to use contract pharmacy

   arrangements, the agency has not passed on the specifics of Lilly’s new policy, because that

   belongs in the ADR.” Tr. of Feb. 26 Oral Arg. (Exh. Q), at 76:24–77:3 (emphasis added).

   X.     Defendants’ Final Agency Action, The Harm To Lilly, And The Need To File Suit

          152.    Lilly challenges “final agency action” within the meaning of 5 U.S.C. § 704.

          153.    To constitute final agency action, a decision “must [1] mark the ‘consummation’ of

   the agency’s decisionmaking process—it must not be of a merely tentative or interlocutory nature”

   and “[2] be one by which ‘rights or obligations have been determined,’ or from which ‘legal

   consequences will flow.’” W. Ill. Home Health Care, Inc. v. Herman, 150 F.3d 659, 662 (7th Cir.

   1998) (quoting Bennett v. Spear, 520 U.S. 154, 177-78 (1997)); see also, e.g., Sackett v. EPA, 566

   U.S. 120, 126-27 (2012) (EPA order constituted final agency action immediately challengeable in

   federal court, even though it included a proviso inviting regulated parties to “engage in informal

   discussion of [its] terms and requirements” with the EPA and purported to be non-final, because

   “‘legal consequences’” flowed from the order’s “issuance” and the order marked “the

   ‘consummation’ of the [agency’s] decisionmaking process” (quoting Bennett, 520 U.S. at 178)).

          154.    The December 30 Decision, the May 17 Letter, and the ADR Rule each

   independently constitute final agency action, as set forth below. Taken together, moreover, they

   represent a naked and unlawful attempt to accomplish through the back door that which they


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   cannot do via rulemaking—namely, forcing manufacturers to offer discounts to an unlimited

   number of for-profit contract pharmacies.

          A.      The December 30 Decision Constitutes Final Agency Action

          155.    The December 30 Decision represents the consummation of Defendants’ mature

   decisionmaking process on this issue. This is not an issue Defendants only recently began

   considering; as the 1996 and 2010 guidance documents as well as the correspondence with Lilly

   and other manufacturers from last year reflect, Defendants have been evaluating this issue for some

   time now. Defendants’ decision to conclude, once and for all, that manufacturers must offer 340B

   discounts to contract pharmacies, is the culmination of years’ worth of consideration.

          156.    The December 30 Decision just as plainly determines rights and obligations from

   which legal consequences will inevitably flow—thereby creating an imminent threat of harm to

   Lilly. Indeed, Lilly has already begun to receive threats from covered entities in light of the

   December 30 Decision. See, e.g., Exh. N (Ltr. from Univ. of Wash. Med. Ctr. and Harborview

   Med. Ctr. to Eli Lilly and Company (Jan. 6, 2021)) (“In light of the [December 30 Decision] your

   continued denial of 340B pricing [to contract pharmacies] puts Lilly’s PPA and reimbursement

   under the Medicaid and Medicare Part B programs at risk, and subjects Lilly to civil monetary

   penalties for each overcharge or denied purchase.”).

          157.    Simply put, Defendants’ view that manufacturers must offer 340B discounts to

   contract pharmacies, on pain of severe penalties and consequences, is now fully operational. See

   W. Ill. Home Health, 150 F.3d at 763 (a letter from the Department of Labor was final agency

   action because “[l]egal consequences flow from it, both with respect to [plaintiffs’] obligations to

   their employees and with respect to [their] vulnerability to penalties should they disregard [it]”).

          158.    Furthermore, Defendants have put Lilly to the “painful choice” of either complying

   with the incorrect “obligation[s]” that result from Defendants’ mistaken interpretation of the 340B


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   statute or “risking the possibility of an enforcement action at an uncertain point in the future.”

   Pharm. Research & Mfrs. of Am. v. U.S. Dep’t of Health & Human Servs., 138 F. Supp. 3d 31, 43

   (D.D.C. 2015) (quoting CSI Aviation Servs., Inc. v. U.S. Dep’t of Transp., 637 F.3d 408, 412 (D.C.

   Cir. 2011)); see also Abbott Labs. v. Gardner, 387 U.S. 136, 153 (1967) (finding agency action fit

   for judicial review where “continued use of material which [plaintiffs] believe in good faith meets

   the statutory requirements, but which clearly does not meet the regulation of the Commissioner[,]

   … would risk serious criminal and civil penalties”), abrogated on other grounds, Califano v.

   Sanders, 430 U.S. 99 (1977). Under the December 30 Decision, if Lilly does not comply with the

   purported “obligat[ion]” to offer 340B prices to contract pharmacies, it may be subject to

   allegations of overcharging and even CMPs pursuant to 42 U.S.C. § 256b(d)(1)(B)(vi), which

   exposes manufacturers to civil penalties of up to $5,000 “for each instance of overcharging a

   covered entity.” (Emphasis added.) That is not a far-off possibility, either: A few months before

   the December 30 Decision was published, HRSA told Lilly that its distribution plan could subject

   Lilly to sanctions “includ[ing] civil monetary penalties pursuant to 42 U.S.C. § 256b(d)(1)(B)(vi).”

   Exh. H at 1. Given the 25,000-plus contract pharmacy locations nationwide and the 190,000-plus

   arrangements between contract pharmacies and covered entities, Lilly’s decision to remain faithful

   to the plain text of the statute could thus have astronomically detrimental financial consequences.

          159.    And given Defendants’ authority to terminate Lilly’s PPA if they determine that

   Lilly has failed to comply with the 340B statute’s obligations, a decision by Lilly not to acquiesce

   to the new obligations reflected in the December 30 Decision would jeopardize Lilly’s

   participation in the Program altogether—as the Attorney General of Connecticut, who “led a

   bipartisan coalition of attorneys general urging [HHS] to hold accountable drug manufacturers,”

   has already recognized. See Office of the Atty. Gen., Attorney General Tong Leads Coalition of




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   Attorneys General in Important Win on Prescription Drugs (Dec. 31, 2020) (recognizing that the

   December 30 Decision “puts a tremendous amount of pressure on drug companies”),

   https://bit.ly/356wuB0. That is no small matter. Termination of Lilly’s PPA would be devastating

   to Lilly’s business, as it would prohibit Lilly from receiving coverage and reimbursement for

   pharmaceutical products under Medicaid and Medicare Part B. Given the enormous size and

   importance of those federal programs, continuing participation in them is functionally necessary

   for Lilly (or any manufacturer) to be viable. See, e.g., August 2020 Medicaid & CHIP Enrollment

   Data Highlights, Medicaid.gov (70 million people receive Medicaid), https://bit.ly/3rRO8SX;

   Nat’l Comm’n to Preserve Soc. Sec. & Medicare, Number of People Receiving Medicare (2019)

   (56 million people receive Medicare Part B), https://bit.ly/3olIG8D; see also Allina Health, 139

   S. Ct. at 1808 (“One way or another, Medicare touches the lives of nearly all Americans.”).

   Defendants have thus left Lilly in the untenable position of offering 340B discounts that are not

   required by the statute or else face crippling financial sanctions simply for asserting its right to

   comply with the obligations in the statute. See, e.g., Brown & Williamson Tobacco Corp. v. FTC,

   710 F.2d 1165, 1172 (6th Cir. 1983); A. O. Smith Corp. v. FTC, 530 F.2d 515, 524 (3d Cir. 1976).

          160.    In short, the December 30 Decision—backed by the threat of massive sanctions—

   imposes “direct and immediate” burdens on Lilly, Abbott Labs., 387 U.S. at 152, and is therefore

   final agency action subject to immediate review. “To hold otherwise would open a path for the

   defendants to substitute informal [advisory opinion]-writing for the formal process of notice and

   comment rulemaking. Perhaps more important, to hold otherwise would insulate the [December

   30 Decision] from effective judicial review unless and until an affected party is willing to act

   contrary to [Defendants’] stated position and to risk severe civil … penalties.” Novelty, Inc. v.

   Tandy, 2006 WL 2375485, at *1 (S.D. Ind. Aug. 15, 2006); see id. (holding that “one of a series




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   of letters” from the Drug Enforcement Agency constituted final agency action even though the

   agency did not follow “formal procedures” in promulgating it). It therefore warrants immediate

   review, and any delay in addressing this dispute would be manifestly inappropriate, as “‘[e]ach

   day [it] wait[s] for the agency to drop the hammer,” Lilly risks “accru[ing]” significant penalties

   plus losing its eligibility for Medicare and Medicaid programs. See Sackett, 566 U.S. at 127.

           161.    The need for immediate review is all the more acute given that the December 30

   Decision does more than put Lilly to the choice between severe penalties and complying with the

   regulation: It effectuates an unconstitutional taking of property by forcing Lilly to transfer

   property in the form of its drugs to private, for-profit entities, not for the benefit of the public, but

   solely so that those for-profit entities can increase their profit margins. The Fifth Amendment

   expressly forbids such a regime. See Kelo, 545 U.S. at 477; U.S. Const. amend. V.

           162.    Moreover, the revenues Lilly generates pursuant to the 340B Program constitute

   personal property that cannot be taken by the government without just compensation. See Horne

   v. Dep’t of Agriculture, 576 U.S. 350, 358 (2015).

           163.    It is also black-letter constitutional law that the government may not condition a

   benefit, such as participating in Medicare Part B and Medicaid, on the relinquishment of a

   constitutional right. Koontz, 570 U.S. at 604. Yet the December 30 Decision does precisely this:

   In order to receive reimbursement and coverage from the federal government—the nation’s largest

   insurance provider that provides health insurance to hundreds of millions of individuals—the

   December 30 Decision forces Lilly to forego billions of dollars in revenue generated by its

   participation in the 340B Program.

           164.    The May 17 Letter confirms that HRSA views the December 30 opinion as final

   agency action. The agency went from merely threatening to level CMPs against manufacturers




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   that stray from the new interpretation of the statute to acting on that threat. The Letter explicitly

   finds that “Lilly’s actions have resulted in overcharges and are in direct violation of the 340B

   statute,” and stated that Lilly was subject to CMPs for failing to provide 340B prices to all covered

   entities. Exh. P at 1-2. The letter also stated that Lilly must “credit or refund all covered entities

   for overcharges that have resulted from Lilly’s policy.” Id. at 1. This letter enforces the final

   agency determination of its interpretation of the 340B statute announced in the December 30

   opinion, and confirms that the decision was the consummation of agency decision-making and that

   Lilly was required to comply with the new legal obligations announced at the time of that decision.

          B.      Even if the December 30 Decision Did Not Constitute Final Agency Action,
                  The May 17 Letter Does Constitute Final Agency Action

          165.    Even if the December 30 Decision were not a final agency action—and it is—the

   May 17 Letter certainly is one. Far from being “merely tentative or interlocutory [in] nature,”

   W. Ill. Home Health, 150 F.3d at 662, the May 17 Letter unambiguously constitutes the

   consummation of the agency’s decision process. In no uncertain terms, it proclaims: “After review

   of this policy and an analysis of the complaints HRSA has received from covered entities, HRSA

   has determined that Lilly’s actions have resulted in overcharges and are in direct violation of the

   340B statute.” Exh. P at 1.

          166.    By the same token, the Letter is also a decision by which “rights or obligations have

   been determined” and “legal consequences will flow,” W. Ill. Home Health, 150 F.3d at 662: it

   states that “Lilly must immediately begin offering its covered outpatient drugs at the 340B ceiling

   price to covered entities through their contract pharmacy arrangements” or else suffer “CMPs as

   described in the CMP final rule.” Exh. P at 2. Just like the December 30 Decision, the May 17

   Letter forces Lilly to choose—this time with a strict deadline and an individualized threat—

   between complying with Defendants’ mistaken interpretation of the 340B statute or suffering



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   massive penalties, and even termination from the 340B Program. See, e.g., Gardner, 387 U.S. at

   153. Further, for the first time, the agency has announced that manufacturers have an obligation

   to provide 340B discounts to all contract pharmacies, not just those that are common law agents

   of a covered entity, and it relies on statutory language that was enacted after 2010. There is

   therefore no argument that the view announced in the May 17 Letter embodies a previous position

   held by the agency, but rather it announces new legal obligations for manufacturers.

          167.    Indeed, the Supreme Court has already explained why “compliance orders” like the

   May 17 Letter constitute final agency action. In Sackett v. EPA, 566 U.S. 120 (2012), the EPA

   sent the Sacketts a letter concluding that the Sacketts’ home-building efforts “constitute[d] a

   violation of” a federal statute. Id. at 125. On the basis of that violation, the EPA demanded that

   the Sacketts “immediately” comply with their purported statutory obligations. Id. The Court

   unanimously concluded that this letter constituted final agency action. The letter set out the

   Sacketts’ purported “legal obligation” under statute, “expose[d] the Sacketts to double penalties in

   a future enforcement proceeding,” and was “not subject to further Agency review.” Id. at 126-27.

          168.    So too here. The May 17 Letter captures the agency’s “determin[ation] that Lilly’s

   actions … are in direct violation of the 340B statute,” and holds itself out as the culmination of the

   agency’s “review” and “analysis.” Exh. P at 1. While the May 17 Letter may be the start of the

   agency’s review for purposes of penalties, under Sackett it is immediately challengeable because

   it represents a determination by the agency of Lilly’s obligations, and also precisely because of the

   fact that legal consequences can now follow from that decision. Indeed, the May 17 Letter

   expressly requires that Lilly “immediately” fall in line with its purported “340B statutory

   obligations.” Id. at 2. And it expressly threatens that a failure to comply exposes Lilly to penalties.

   See id. (“Continued failure to provide the 340B price to covered entities utilizing contract




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   pharmacies, and the resultant charges to covered entities of more than the 340B ceiling price, may

   result in CMPs as described in the CMP final rule.”). Further, just as in Sackett, “each day [Lilly]

   wait[s] for the Agency to drop the hammer,” Sackett, 566 U.S. at 127, they run the risk of accruing

   additional penalties if it continues to follow its current pricing policy regarding contract

   pharmacies. The May 17 Letter is a Sackett redux, and therefore inarguably constitutes final

   agency action.

          169.      Indeed, it is apparent that, under the government’s view, Lilly’s decision to assert

   its rights in this lawsuit—rather than immediately capitulate—could be a basis for civil monetary

   penalties under the 340B Statute, which are supposed to be available under the Statute only for

   knowing and willful violations. See 42 U.S.C. § 256b(d)(1)(B)(vi)(II).

          C.        The ADR Rule Constitutes Final Agency Action

          170.      The ADR Rule, codified at 42 C.F.R. §§ 10.20–10.24, became effective on January

   13, 2021. See 85 Fed. Reg. at 80,632.

          171.      There is no doubt that Lilly will be subject to proceedings conducted under the

   ADR Rule; in fact, ADR petitions against Lilly have already been filed.

          172.      Nor is there any doubt that the petitions will continue to roll in. First, ADR

   proceedings are the exclusive remedial scheme for claims between covered entities and

   manufacturers. See Astra, 563 U.S. at 121-22. Second, many covered entities have been engaged

   in active litigation against HHS in an effort to force the agency to implement ADR rules so that

   those entities can make claims against manufacturers including Lilly. See, e.g., Compl. 24, Nat’l

   Assoc. of Comm’y Health Ctrs. v. Azar, No. 1:20-cv-03032 (D.D.C. Oct. 21, 2020), Dkt. 1

   (alleging that the plaintiff there would have submitted a claim through the ADR process “[h]ad the

   Secretary implemented” it). Third, covered entities have already sent Lilly letters threatening them

   with ADR-panel-issued damages if it does not acquiesce to their (and now HHS’s) view that it


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   must offer full 340B discounts to for-profit contract pharmacies. Finally, after the Rule became

   effective, covered entities immediately began to file petitions, seeking all forms of relief—

   including preliminary injunctions nowhere contemplated in the statute—relying on the December

   30 Decision as their central authority.

          173.    As Lilly has explained above and as it alleges further below, the 340B statute does

   not empower Defendants to require manufacturers like Lilly to offer product or allow purchases at

   340B discounted prices to contract pharmacies. The term “covered entity” is defined in exhaustive

   detail to include fifteen very specific types of entities that predominantly provide services to low-

   income patients, 42 U.S.C. § 256b(a)(4); contract pharmacies, which typically are large and

   lucrative commercial, corporate pharmacies such as Walgreens and CVS, are mentioned nowhere

   on this list, see id. Moreover, Congress limited HRSA’s authority to undertake rulemaking in the

   340B Program to three specific areas: (1) establishing of an ADR process; (2) issuing standards

   for calculating ceiling prices; and (3) imposing monetary civil sanctions, see Orphan Drug I, 43

   F. Supp. 3d at 41, the latter of which is expressly limited to instances of overcharging covered

   entities themselves, not their agents, see 42 U.S.C. § 256b(d)(1)(B)(vi)(II)-(III).

          174.    Remarkably, however, one set of ADR panel judges, the OGC, has already staked

   out a position on Lilly’s challenge. See December 30 Decision.

          175.    As explained below, the ADR Rule to which Lilly is now subject is

   unconstitutional, unauthorized by statute, procedurally improper, and arbitrary and capricious.

   Lilly is therefore “suffering [a] legal wrong because of agency action” and “adversely affected or

   aggrieved by agency action,” and is therefore “entitled to judicial review thereof.” 5 U.S.C. § 702.




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                                       CLAIMS FOR RELIEF

   I.     Claims Regarding The December 30 Decision

                                              COUNT I
                           (Violation of the Administrative Procedure Act
                              Failure to Provide Notice and Comment)

          176.    Lilly re-alleges and incorporates the allegations in all of the preceding paragraphs

   of this Complaint.

          177.    The Declaratory Judgment Act provides that, in a case of actual controversy within

   its jurisdiction, a United States court may declare the rights and other legal relations of any

   interested party seeking such declaration. 28 U.S.C. § 2201(a).

          178.    The APA provides that “[a] person suffering legal wrong because of agency action,

   or adversely affected or aggrieved by agency action within the meaning of a relevant statute, is

   entitled to judicial review thereof.” 5 U.S.C. § 702.

          179.    The APA also provides that “final agency action for which there is no other

   adequate remedy in a court” is “subject to judicial review.” Id. § 704.

          180.    The APA further provides that a reviewing court shall “hold unlawful and set aside

   agency action, findings, and conclusions found to be … without observance of procedure required

   by law.” Id. § 706(2)(D).

          181.    The December 30 Decision constitutes “final agency action for which there is no

   other adequate remedy,” id. § 704, and Lilly has exhausted all of its available administrative

   remedies and/or pursuit of any further administrative remedies would be futile.

          182.    The APA defines a “rule” to include any “agency statement of general or particular

   applicability and future effect designed to implement, interpret, or prescribe law.” Id. § 551(4).

          183.    To issue a valid rule, an agency “shall [ ] publish[]” “[g]eneral notice of proposed

   rule making” “in the Federal Register,” and shall include in that notice “either the terms or


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   substance of the proposed rule or a description of the subjects and issues involved.”              Id.

   § 553(b)(3).

          184.    This notice requirement applies to all rules except “interpretive rules, general

   statements of policy, or rules of agency organization, procedure, or practice,” and applies unless

   the agency “for good cause finds (and incorporates the finding and a brief statement of reasons

   therefor in the rules issued) that notice and public procedure thereon are impracticable,

   unnecessary, or contrary to the public interest.” Id. § 553(b)(A)-(B).

          185.    After providing notice of a proposed rule, the agency shall then “give interested

   persons an opportunity to participate in the rule making through submission of written data, views,

   or arguments.” Id. § 553(c).

          186.    Because the December 30 Decision definitively “conclude[s]” that manufacturers

   must provide contract pharmacies with 340B prices, it is plainly an “agency statement of general

   or particular applicability and future effect designed to implement, interpret, or prescribe law.” Id.

   § 551(4). It therefore constitutes a “rule” under the APA.

          187.    The December 30 Decision is not exempt from the APA notice-and-comment

   requirement under 5 U.S.C. § 553(b)(A), because it is not an “interpretative rule[], general

   statement[] of policy, or rule[] of agency organization, procedure, or practice.” It is instead a

   legislative rule: The December 30 Decision creates rights and obligations on manufacturers with

   which they must comply, on pain of civil sanction and expulsion from the 340B Program.

          188.    Indeed, given the existence of the 1996 and 2010 contract pharmacy guidance, as

   well as HRSA’s other repeated insistences that neither of those guidance documents create

   enforceable obligations, the only logical explanation for the December 30 Decision is that

   Defendants wanted to create and did create enforceable obligations under the 340B statute.




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          189.     Defendants thus needed to comply with the APA’s notice-and-comment procedures

   in order to (attempt to) enshrine these new obligations.

          190.     Yet Defendants nevertheless failed to provide public notice of their proposed action

   before issuing the December 30 Decision, and failed to provide the public any opportunity to

   comment on that proposed action.

          191.     The December 30 Decision was accordingly issued “without observance of

   procedure required by law.” 5 U.S.C. § 706(2)(D).

                                              COUNT II
                           (Violation of the Administrative Procedure Act
                                   Exceeding Statutory Authority)

          192.     Lilly re-alleges and incorporates the allegations in the preceding paragraphs of this

   Complaint.

          193.     Under the APA, a reviewing court shall “hold unlawful and set aside agency action”

   that is “in excess of statutory jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2)(C).

          194.     The 340B statute does not confer on Defendants the authority to require drug

   manufacturers, on pain of penalty, to offer drugs to contract pharmacies at 340B prices, as contract

   pharmacies are not covered entities and Defendants have no authority to require manufacturers to

   offer discounts to any other type of entity. See Pharm. Research & Mfrs. of Am., 43 F. Supp. 3d

   at 31, 39-40.

          195.     The 340B statute obligates manufacturers to offer drugs to covered entities—a

   defined term that does not include contract pharmacies. 42 U.S.C. § 256b(a)(1). And because

   Congress listed the entities intended to participate in the 340B Program in the definition of covered

   entity, the addition of contract pharmacies as a new category of recipients of covered outpatient

   drugs at 340B discount prices is prohibited. See, e.g., Ethyl Corp. v. EPA, 51 F.3d 1053, 1061

   (D.C. Cir. 1995) (“[M]ention of one thing implies exclusion of another thing.”).


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          196.    Similarly, Defendants have no authority to create, through guidance or otherwise,

   an exception to the prohibition on diversion to any entity that is not a patient of the 340B covered

   entity under the statute.

          197.    Defendants likewise have no authority to broaden the scope of the 340B statute to

   effectively expand the statutory term “covered entities” and extend it to contract pharmacies, as

   they have now purported to do in the December 30 Decision.

        198.      Rather, HRSA possesses limited, circumscribed authority in only three areas:

   (1) the establishment of an administrative dispute resolution process; (2) the issuance of precisely

   defined standards of methodology for calculation of ceiling prices; and (3) the imposition of

   monetary civil sanctions. See Pharm. Research & Mfrs. of Am., 43 F. Supp. 3d at 41 (vacating a

   rule that fell outside HRSA’s regulatory authority).

          199.    Accordingly, the December 30 Decision is “in excess of statutory jurisdiction,

   authority, or limitations” and must be set aside. 5 U.S.C. § 706(2)(C).

                                                 COUNT III
                               (Violation of the Administrative Procedure Act
                                 Arbitrary and Capricious Agency Action)

          200.    Lilly re-alleges and incorporates the allegations in the preceding paragraphs of this

   Complaint.

          201.    Under the APA, a reviewing court shall “hold unlawful and set aside agency action,

   findings, and conclusions found to be … arbitrary, capricious, an abuse of discretion, or otherwise

   not in accordance with law.” 5 U.S.C. § 706(2)(A).

          202.    Agency action is arbitrary and capricious if the agency fails to “examine the

   relevant data and articulate a satisfactory explanation for its action including a rational connection

   between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

   Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). “Normally, an agency rule would be arbitrary


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   and capricious if the agency has relied on factors which Congress has not intended it to consider,

   entirely failed to consider an important aspect of the problem, offered an explanation for its

   decision that runs counter to the evidence before the agency, or is so implausible that it could not

   be ascribed to a difference in view or the product of agency expertise.” Id.

          203.    Any change to an agency’s policy must also be adequately explained. The agency

   must “display awareness that it is changing position,” “show that there are good reasons for the

   new policy,” and be aware that longstanding policies may have “engendered serious reliance

   interests that must be taken into account.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515

   (2009). “[A]n unexplained inconsistency in agency policy is a reason for holding an interpretation

   to be an arbitrary and capricious change from agency practice.” Encino Motorcars, LLC v.

   Navarro, 136 S. Ct. 2117, 2126 (2016) (citation and alterations omitted).

          204.    The December 30 Decision is arbitrary and capricious because Defendants did not

   consider the relevant factors. See Citizens to Preserve Overton Park, Inc. v. Volpe, 401 U.S. 402,

   416 (1971), abrogated on other grounds by Califano v. Sanders, 430 U.S. 99 (1977); Am. Radio

   Relay League, Inc. v. FCC, 524 F.3d 227, 241 (D.C. Cir. 2008). Indeed, Defendants entirely failed

   to give adequate consideration to the text of the 340B statute, which precludes Defendants from

   imposing an obligation on manufacturers to offer discounts to any entity other than the 15 classes

   of covered entities Congress specifically enumerated.

          205.    The December 30 Decision is also arbitrary and capricious because Defendants

   gave no indication that they gave any, let alone sufficient, consideration to the myriad and far-

   ranging abuses contract pharmacy arrangements have facilitated.

          206.    Furthermore, Defendants’ application of their misguided view of the statute to

   mandate that Lilly offer 340B discounts for contract pharmacy transactions enables covered entity




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   diversion that is expressly prohibited by the 340B statute. See 42 U.S.C. § 256b(a)(5)(B) (“With

   respect to any covered outpatient drug that is subject to an agreement under this subsection, a

   covered entity shall not resell or otherwise transfer the drug to a person who is not a patient of the

   entity.”).   Specifically, contract pharmacy transactions result in covered entities selling or

   otherwise transferring covered outpatient drugs to entities that are not “patients” of the covered

   entity. Use of contract pharmacies necessarily involves a prohibited “transfer” of 340B discounted

   product to a non-340B covered entity, the contract pharmacy.

           207.    Finally, the December 30 Decision is arbitrary and capricious because Defendants

   did not even attempt to reconcile the “obligation” enshrined in it with their earlier pronouncements

   that manufacturers were under no legally enforceable obligation to offer 340B prices to contract

   pharmacies.     The December 30 Decision thus arbitrarily and capriciously fails to explain

   Defendants’ change in policy.

                                           COUNT IV
                         (Violation of the Administrative Procedure Act
            Contrary to the Fifth Amendment to and Article I of the U.S. Constitution)

           208.    Lilly re-alleges and incorporates the allegations in the preceding paragraphs of this

   Complaint.

           209.    The APA provides that a reviewing court shall “hold unlawful and set aside agency

   action, found to be … contrary to constitutional right, power, privilege, or immunity.” 5 U.S.C.

   § 706(2)(B).

           210.    The Takings Clause of the Fifth Amendment provides:             “[N]or shall private

   property be taken for public use, without just compensation.” U.S. Const. amend V.

           211.    The Takings Clause is not limited to instances where the government physically

   appropriates property for its own use through eminent domain. Rather, a taking can occur through

   legislation and regulation that sufficiently deprives a user of his property rights. Squires-Cannon


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   v. Forest Preserve Dist., 897 F.3d 797, 798 (7th Cir. 2018). As the Supreme Court has long

   recognized, “while property may be regulated to a certain extent, if regulation goes too far it will

   be recognized as a taking.” Penn. Coal Co. v. Mahon, 260 U.S. 393, 415 (1922); see also, e.g.,

   Lingle v. Chevron U.S.A. Inc., 544 U.S. 528, 537 (2005); Squires-Cannon, 897 F.3d at 798.

          212.    The Takings Clause extends to both real and personal property. “The Government

   has a categorical duty to pay just compensation when it takes your car, just as when it takes your

   home.” Horne, 576 U.S. at 358. Confiscatory regulations that mandate the transfer of personal

   property from one private party to another private party therefore amount to an unconstitutional

   taking with or without just compensation. Id.; see E. Enters. v. Apfel, 524 U.S. 498, 529 (1998).

          213.    A taking may be found based on “several factors,” including “the economic impact

   of the regulation, its interference with reasonable investment backed expectations, and the

   character of the governmental action.” Kaiser Aetna v. United States, 444 U.S. 164, 175 (1979).

   However, takings claims are inherently fact-intensive, and the ultimate question is whether the

   government has “forc[ed] some people alone to bear public burdens, which, in all fairness and

   justice, should be borne by the public as a whole.” Davon, Inc. v. Shalala, 75 F.3d 1114, 1127

   (7th Cir. 1996) (quoting Armstrong v. United States, 364 U.S. 40, 49 (1960)).

          214.    Defendants’ decision to mandate that Lilly provide contract pharmacies with 340B-

   priced drugs is an exceedingly clear example of such a confiscatory regulation. In no uncertain

   terms, it forces Lilly to transfer its property, in the form of the drugs it manufactures, to contract

   pharmacies at a devastating financial loss. See E. Enters., 524 U.S. at 529 (plurality op.)

   (evaluating economic impact as a prime factor for assessing whether a taking has occurred); Penn

   Central Transp. Co. v. New York City, 438 U.S. 104, 124 (1978) (similar).




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          215.    Under the December 30 Decision, which forces Lilly to offer discounts to an ever-

   growing number of contract pharmacies, Lilly stands to lose significant sums of money in both the

   short and long terms. The requirement reflected in December 30 Decision that Lilly offer discounts

   to contract pharmacies, on pain of severe penalty, is therefore unconstitutional, as “the ‘power to

   regulate is not a power to destroy.’” In re Permian Basin Area Rate Cases, 390 U.S. 747, 769

   (1968) (quoting Stone v. Farmers’ Loan & Tr. Co., 116 U.S. 307, 331 (1886)); accord, e.g., Ames

   v. Union Pac. Ry., 64 F. 165, 186-89 (C.C.D. Neb. 1894) (Brewer, J.).

          216.    Defendants’ December 30 Decision is especially galling—and constitutionally

   suspect—because it does not seek to use the confiscated property for a public use, as required by

   the Fifth Amendment. See Horne, 576 U.S. at 371. Rather, it forces Lilly and other manufacturers

   to transfer their property to other private entities, many (if not most) of which are large and

   lucrative corporate pharmacies such as Walgreens and CVS, so that such entities can maximize

   their profits. The conclusion that manufacturers must offer discounts on all covered outpatient

   drugs to an unlimited number of contract pharmacies thus amounts to no more than “a naked

   transfer of property from private party A to B solely for B’s private use and benefit.” Carole Media

   LLC v. N.J. Transit Corp., 550 F.3d 302, 311 (3d Cir. 2008).

          217.    Such a regulation cannot be reconciled with the Fifth Amendment. “[I]t has long

   been accepted that the sovereign may not take the property of A for the sole purpose of transferring

   it to another private party B, even though A is paid just compensation.” Kelo, 545 U.S. at 477; see

   also Calder v. Bull, 3 U.S. (3 Dall.) 386, 388 (1798) (op. of Chase, J.) (the legislature has no power

   to enact “a law that takes property from A. and gives it to B.”); Reagan v. Farmers’ Loan & Tr.

   Co., 154 U.S. 362, 399, 410 (1894) (similar).           Indeed, such private takings are always

   unconstitutional, “since [n]o amount of compensation can authorize such action.” Lingle, 544 U.S.




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   at 543; see also Coniston Corp. v. Vill. of Hoffman Estates, 844 F.2d 461, 464 (7th Cir. 1988). As

   “[a] purely private taking,” the December 30 Decision “serve[s] no legitimate purpose of

   government” and is therefore “void.” Haw. Housing Auth. v. Midkiff, 467 U.S., 229, 245 (1984).

   Accordingly, it must be set aside pursuant to the APA as “contrary to constitutional right.” 5

   U.S.C. § 706(2)(B).

          218.    Nor can the December 30 Decision be justified if only considered prospectively.

   Even if the December 30 Decision applies only to sales made in 2021 and afterward, it would still

   raise serious constitutional concerns given the sheer magnitude of Medicaid and Medicare Part B,

   participation in which Congress has made contingent on participation in the 340B Program (and

   thus on offering covered outpatient drugs to all covered entities at no more than the ceiling price

   established pursuant to the 340B statute). See Elrod v. Burns, 427 U.S. 347, 361 (1976) (plurality

   op.) (“The denial of a public benefit may not be used by the government for the purpose of creating

   an incentive enabling it to achieve what it may not command directly.”).

          219.    The unconstitutional conditions doctrine “vindicates the Constitution’s enumerated

   rights by preventing the government from coercing people into giving them up” to obtain a benefit,

   such as the ability to participate in a government program. Koontz, 570 U.S. at 604; see also

   Libertarian Party of Ind. v. Packard, 741 F.2d 981, 988 (7th Cir. 1984) (“The ‘unconstitutional

   conditions’ doctrine is premised on the notion that what a government cannot compel, it should

   not be able to coerce.”). This includes the rights to retain one’s own personal (or business) property

   unless properly taken by the government. See Dolan v. City of Tigard, 512 U.S. 374, 385 (1994);

   Nollan, 483 U.S. at 837. The doctrine accordingly “forbid[s] the government from engaging in

   ‘out-and-out … extortion’ that would thwart the Fifth Amendment” by coercing private parties, on




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   pain of losing a government benefit, into relinquishing their property without proper

   compensation. Koontz, 570 U.S. at 606 (alteration in original) (quoting Nollan, 483 U.S. at 837).

          220.    The December 30 Decision effectively forces manufacturers to provide steep

   discounts to an endless number of for-profit contract pharmacies—even though the latter rarely, if

   ever, pass along the 340B discounts to the patients whom the Program is designed to serve—or

   else forego billions of dollars in revenues pursuant to Medicaid and Medicare Part B.

          221.    The December 30 Decision thus imposes a previously nonexistent condition that

   directly contravenes the unconstitutional conditions doctrine. Indeed, it has all the hallmarks of

   an “[e]xtortionate demand[].” Id. at 605. If Lilly wishes to continue participating in Medicaid, it

   must forfeit its constitutional “right not to have property taken without just compensation,” id. at

   607, and agree to provide 340B prices to limitless contract pharmacies. If it refuses, Lilly would

   become unable to contract with one of the largest insurance programs in the country, under which

   approximately 70 million Americans receive insurance. Cf. NFIB v. Sebelius, 567 U.S. 519, 581

   (2012) (striking down use of Spending Power because “the financial ‘inducement’ Congress [ ]

   chose[] is much more than ‘relatively mild encouragement’—it is a gun to the head”).

          222.    At the very least, the broad reading of the 340B statute that is required in order for

   the December 30 Decision to be within Defendants’ statutory authority raises serious constitutional

   concerns. In effect, by eviscerating the “covered entity” requirement, it would give Defendants

   the ability to confiscate property from private drug manufacturers whenever it sees fit, and to grant

   rights to that property to whomever it sees fit. The canon of constitutional avoidance weighs

   heavily against such a reading. See, e.g., INS v. St. Cyr, 533 U.S. 289, 299-300 (2001).




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   II.     Claims Regarding The ADR Rule

                                                COUNT V
                             (Violation of the Administrative Procedure Act
                             Contrary to Article II of the U.S. Constitution)

           223.    Lilly re-alleges and incorporates the allegations in the preceding paragraphs of this

   Complaint.

           224.    The APA provides that a reviewing court shall “hold unlawful and set aside agency

   action, found to be … contrary to constitutional right, power, privilege, or immunity.” 5 U.S.C.

   § 706(2)(B).

           225.    The Appointments Clause of the U.S. Constitution provides:

                   [The President] shall nominate, and by and with the Advice and
                   Consent of the Senate, shall appoint … Officers of the United States,
                   whose Appointments are not herein otherwise provided for, and
                   which shall be established by Law: but the Congress may by Law
                   vest the Appointment of such inferior Officers, as they think proper,
                   in the President alone, in the Courts of Law, or in the Heads of
                   Departments.

   U.S. Const. art. II, § 2, cl. 2.

           226.    The Appointments Clause “is among the significant structural safeguards of the

   constitutional scheme.” Edmond v. United States, 520 U.S. 651, 659 (1997). “By vesting the

   President with the exclusive power to select the principal (noninferior) officers of the United

   States, the Appointments Clause prevents congressional encroachment upon the Executive and

   Judicial Branches.” Id. Although it may be administratively convenient for Congress to permit

   other persons to appoint officers, “that convenience was deemed to outweigh the benefits of the

   more cumbersome procedure only with respect to the appointment of ‘inferior Officers.’” Id. at

   661.

           227.    The Appointments Clause applies to “Officers of the United States.” U.S. Const.

   art. II, § 2, cl. 2. To be an “officer,” an individual must have “continuing and permanent” duties


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   and must “exercise[e] significant authority pursuant to the laws of the United States.” Lucia v.

   SEC, 138 S. Ct. 2044, 2051 (2018). In the agency adjudication context, an individual is an officer

   when she can “take testimony, conduct trials, rule on the admissibility of evidence, and have the

   power to enforce compliance with discovery orders.” Id. at 2052 (quoting Freytag v. Comm’r of

   Internal Rev., 501 U.S. 868, 881-82 (1991)).

          228.    That description fits ADR panel members to a T. Just like the administrative law

   judges in Lucia and the special tax judges in Freytag, 340B ADR panelists have “significant

   discretion” to “take testimony, conduct trials, rule on the admissibility of evidence, and have the

   power to enforce compliance with discovery orders.” Lucia, 138 S. Ct. at 2051 (quoting Freytag,

   501 U.S. at 881-82); see 42 C.F.R. § 10.23 (permitting ADR panel to “conduct an evidentiary

   hearing when there are material facts in dispute”); id. § 10.22(b)-(c) (permitting ADR panel to

   “request additional information from either party” and sanction noncompliance); see also 85 Fed.

   Reg. at 80,641 (noting that the ADR Rule “allow[s] the 340B ADR Panel discretion in admitting

   evidence and testimony during the course of a proceeding”). Furthermore, the ADR Rule does not

   place any time limitation on panelists’ service, with the result that their duties are “continuing and

   permanent.” Lucia, 138 S. Ct. at 2051. And ADR panel decisions are “final agency decisions,

   binding on the parties, and precedential.” 85 Fed. Reg. at 80,642; see 42 C.F.R. § 10.24(d). ADR

   panelists are thus Article II officers under a straightforward application of Supreme Court caselaw.

          229.    They are just as clearly principal officers. Once an individual has been identified

   as an officer, “the starting place for assessing the constitutionality of an officer’s appointment is

   determining to which class the officer belongs.” Ass’n of Am. R.R. v. U.S. Dep’t of Transp., 821

   F.3d 19, 38 (D.C. Cir. 2016). If the officer is principal, but was not appointed by the President

   with advice and consent of the Senate, her appointment violates the Constitution. Id. So it is here.




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          230.    The Supreme Court has never found an agency adjudicative officer to be inferior

   when—as here—her decisions were not reviewable by a superior executive officer. See generally

   Edmond, 520 U.S. at 662-63 (Because “[w]hether one is an ‘inferior’ officer depends on whether

   he has a superior,” it is “evident that ‘inferior officers’ are officers whose work is directed and

   supervised at some level by others who were appointed by Presidential nomination with the advice

   and consent of the Senate.”). And unlike the (inferior-officer) judges of the Court of Criminal

   Appeals in Edmond or the (inferior-officer) members of the Public Company Accounting

   Oversight Board in Free Enterprise Fund v. Public Co. Accounting Oversight Board, 561 U.S.

   477 (2010), ADR panel decisions are not subject to review by any superior executive official.

   Indeed, ADR panelists—and only ADR panelists—have authority to “make precedential and

   binding final agency decisions regarding claims filed by covered entities and manufacturers.” 42

   C.F.R. § 10.20. Compare id., with Free Enter. Fund, 561 U.S. at 486 (Board members are inferior

   officers because their actions are “subject to [SEC] approval and alteration”), and Edmond, 520

   U.S. at 664-65 (CCA judges are inferior officers because they have no power to render final

   decisions on behalf of the U.S. “unless permitted to do so by other Executive officers”). ADR

   panel members are thus principal executive officers under a straightforward application of

   Supreme Court caselaw.

          231.    And because the ADR Rule permits these principal-officer panelists to hold office

   without nomination by the President and approval by the Senate, their appointment is

   unconstitutional under the Appointments Clause. Indeed, the lack of “any procedure by which [an

   agency] arbitrator’s decision is reviewable by the [relevant agency]” is alone sufficient to render

   the arbitrator unconstitutionally appointed. Ass’n of Am R.R, 821 F.3d at 39. “Without providing




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   for the arbitrator’s direction or supervision by principal officers, [the challenged statute]

   impermissibly vests power to appoint an arbitrator in the [relevant agency].” Id.

          232.    The ADR Rule’s protection of ADR panelists from at-will removal only serves to

   confirm their status as superior officers. The Supreme Court has placed great weight on whether

   the officer in question was removable at will, as “[t]he power to remove officers … is a powerful

   tool for control.” Edmond, 520 U.S. at 664; see also Free Enter. Fund, 561 U.S. at 510 (“Given

   that the Commission is properly viewed … as possessing the power to remove Board members at

   will, and given the Commission’s other oversight authority, we have no hesitation in concluding

   that under Edmond the Board members are inferior officers ….”).            ADR panelists are not

   removable at will. Under 42 C.F.R. § 10.20(a)(1)(ii), a panelist can be “[r]emove[d] … from a

   340B ADR Panel” only “for cause.” Indeed, it is unclear whether members of the 340B ADR

   Board can be removed from that body at all; no provision governs such a removal. That HHS

   lacks this “powerful tool for control” over 340B ADR panelists illustrates the reality that their

   decisions are not “directed and supervised … by others who were appointed by Presidential

   nomination with the advice and consent of the Senate.” Edmond, 520 U.S. at 663-64.

          233.    Accordingly, because 340B ADR panelists are principal officers but were not

   appointed by the President with advice and consent of the Senate, the ADR Rule is unlawful as

   “contrary to constitutional right, power, privilege, or immunity.” 5 U.S.C. § 706(2)(B).

          234.    These very principles are currently under consideration by the United States

   Supreme Court on a writ of certiorari. In Arthrex, Inc. v. Smith & Nephew, Inc., the Federal Circuit

   concluded that “[t]he lack of any presidentially-appointed officer who can review, vacate, or

   correct decisions by APJs [administrative patent judges] combined with [a] limited removal

   power” makes those judges “principal officers.” 941 F.3d 1320, 1335 (Fed. Cir. 2019), pets. for




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   reh’g en banc denied, 953 F.3d 760 (Fed. Cir. 2020). Because APJs were not appointed by the

   President with the Senate’s advice and consent, the Federal Circuit held their appointments were

   unconstitutional. See id. The Federal Circuit concluded, in the context of the specific statute at

   issue there, that the APJs could be converted into inferior officers (thus curing the constitutional

   defect), by severing the statute’s removal provision. Id. at 1338. The Supreme Court granted

   certiorari on both conclusions. See Smith & Nephew, Inc. v. Arthrex, Inc., 2020 WL 6037207 (U.S.

   Oct. 13, 2020). Oral argument is set for March 1, 2021. While the conclusion that APJs as

   originally constituted were principal officers is undoubtedly correct, the remedial conclusion is

   not: No Presidential appointee must (or even may) review APJ decisions even as severed, which

   means that APJs—like ADR panelists—remain principal officers.

                                             COUNT VI
                           (Violation of the Administrative Procedure Act
                           Contrary to Article III of the U.S. Constitution)

          235.    Lilly re-alleges and incorporates the allegations in the preceding paragraphs of this

   Complaint.

          236.    The Constitution vests the judicial power of the United States “in one supreme

   Court, and in such inferior Courts as the Congress may from time to time ordain and establish.”

   U.S. Const. art. III, § 1. And “[w]hen a suit is made of the stuff of the traditional actions at common

   law tried by the courts at Westminster in 1789, and is brought within the bounds of federal

   jurisdiction, the responsibility for deciding that suit rests with Article III judges in Article III

   courts.” Stern v. Marshall, 564 U.S. 462, 484 (2011) (citation and quotation marks omitted).

   Resolving “the mundane as well as the glamorous, matters of common law and statute as well as

   constitutional law, issues of fact as well as issues of law” is constitutionally assigned “to the

   Judiciary.” Id. (quotation marks omitted). As a result, a statute or regulation violates Article III

   if it “confer[s] the Government’s ‘judicial Power’ on entities outside Article III.” Id.


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          237.    Article III protects the rights of private litigants and the rule of law by ensuring that

   those who resolve their disputes do so without influence from the Executive. It provides that

   judges “shall hold their Offices during good Behaviour, and [who] shall, at stated Times, receive

   for their Services a Compensation, which shall not be diminished during their Continuance in

   Office.” U.S. Const. art. III, § 1. This structural feature is an indispensable means by which the

   Constitution secures impartial adjudication and individual liberty, as it creates “in a body of judges

   insulated from majoritarian pressures and thus able to enforce [federal law] without fear of reprisal

   or public rebuke.” United States v. Raddatz, 447 U.S. 667, 704 (1980) (Marshall, J., dissenting).

          238.     Since the earliest days of the Republic, the Supreme Court has understood that the

   adjudication of private rights must be overseen by Article III courts, and Article III courts alone.

   See, e.g., Stern, 564 U.S. at 484; Murray’s Lessee v. Hoboken Land & Improvement Co., 59 U.S.

   (18 How.) 272, 284 (1856); see also Caleb Nelson, Adjudication in the Political Branches, 107

   COLUM. L. REV. 559, 569 (2007). Whether a statute or regulation conferring adjudicatory authority

   on a non–Article III tribunal is constitutional thus depends in considerable part on whether the

   adjudication involves “public rights” or “private rights”: Congress may “assign adjudication of

   public rights to entities other than Article III courts,” Oil States Energy Servs., LLC v. Greene’s

   Energy Group, LLC, 138 S. Ct. 1365, 1374 (2018), but it may not do so with “private rights,” N.

   Pipeline Constr. Co. v. Marathon Pipe Line Co., 458 U.S. 50, 70 (1982) (plurality op.).

          239.    Rights to private property are a fundamental part of “the stuff of the traditional

   actions at common law tried by the courts at Westminster in 1789,” N. Pipeline, 458 U.S. at 90

   (Rehnquist, J., concurring in the judgment), and they therefore must be adjudicated by Article III

   courts. Courts, commentators, and legislatures have always understood that “[t]he legislative

   power … cannot directly reach the property or vested rights of the citizen, by providing for their




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   forfeiture or transfer to another, without trial and judgment in the courts.” Newland v. Marsh, 19

   Ill. 376, 382 (1857); see also Theodore Sedgwick, A Treatise on the Rules Which Govern the

   Interpretation and Application of Statutory and Constitutional Law 676 (N.Y., J.S. Voorhies ed.,

   1857) (all have “the right to judicial procedure, investigation, and determination, whenever life,

   liberty, or property is attacked”); Nelson, supra, at 601 (early-twentieth-century statutes “drew a

   sharp distinction between administrative orders calling for the payment of money (which could be

   enforced only through suits in district court that proceeded ‘like other civil suits for damages’ and

   in which [agencies’] underlying findings were simply ‘prima facie evidence”’ and other

   administrative orders (as to which [such] underlying findings, ‘if supported by substantial

   evidence,’ were to be ‘conclusive unless … clearly … arbitrary or capricious’” (citation omitted)).

          240.    The ADR Rule flagrantly violates these basic principles. By enabling panels to

   mandate that Lilly transfer its property in the form of its drugs to covered entities often at an

   extreme financial loss to Lilly (and others), and by enabling those panels to enforce such decisions

   through binding money judgments, the ADR Rule empowers ADR panels to determine “the

   liability of one individual to another under the law as defined.” N. Pipeline, 458 U.S. at 69-70

   (quoting Crowell v. Benson, 285 U.S. 22, 51 (1932)); see also Stern, 564 U.S. at 494. The ADR

   Rule therefore unconstitutionally permits Executive Branch employees not only to adjudicate

   claims for money damages or equitable relief brought by one private party to obtain another’s

   property without paying for its value, but to issue self-executing judgments on those claims.

          241.    Nor is this a case in which a non–Article III adjudication of private rights may be

   permissible because a federal court “retain[s] supervisory authority over the process.” Wellness

   Int’l Network, Ltd. v. Sharif, 135 S. Ct. 1932, 1944 (2015); see, e.g., Peretz v. United States, 501

   U.S. 923, 937 (1991) (magistrate judges do not violate Article III because the district court can




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   remove a magistrate judge and “the entire process takes place under the district court’s total control

   and jurisdiction” (citation omitted)); Sharif, 135 S. Ct. at 1944-45 (same with bankruptcy court

   judges). Judicial review is only available through the APA, 85 Fed. Reg. at 80,641, which provides

   for substantial evidence review of agency action, see 5 U.S.C. § 706(2)(E). This deferential review

   does not suffice. See CFTC v. Schor, 478 U.S. 833, 853 (1985) (noting that the “more deferential

   standard [of review] in Northern Pipeline” meant that the federal courts did not exert

   constitutionally sufficient control under that regime).

          242.    Moreover, ADR panels “exercise[] the range of jurisdiction and powers normally

   vested only in Article III courts,” which further undermines federal courts’ control and further

   underscores the Article III violation. See id. at 850. As described above, ADR panels have

   authority to award money judgments, issue equitable remedies, take evidence and hear testimony,

   apply the Federal Rules of Civil Procedure and Evidence, impose sanctions, issue precedential and

   binding decisions, and decide ancillary legal issues. And, again, ADR panels’ binding and

   precedential money judgments appear to be self-executing. That makes the ADR process quite

   unlike most other administrative review schemes, which require litigants to apply to a federal court

   for enforcement of an order. See, e.g., 7 U.S.C. § 18(d)(1); 29 U.S.C. § 1401(b)(2); see also Schor,

   478 U.S. at 753 (“CFTC orders, like those of the agency in Crowell, but unlike those of the

   bankruptcy courts under the 1978 Act, are enforceable only by order of the district court.”).

          243.      The ADR Rule accordingly violates Article III of the Constitution and should be

   set aside as contrary to law.

                                             COUNT VII
                           (Violation of the Administrative Procedure Act
                                   Exceeding Statutory Authority)

          244.    Lilly re-alleges and incorporates the allegations in the preceding paragraphs of this

   Complaint.


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          245.    Under the APA, a reviewing court shall “hold unlawful and set aside agency action”

   that is “in excess of statutory jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2)(C).

          246.    As explained above, the ADR Rule violates both Article II and Article III of the

   U.S. Constitution. The Court can also invalidate the ADR Rule, however, as contrary to law under

   the APA, since Congress is presumed not to authorize violations of the Constitution.

          247.    For example, the 340B statute itself does not authorize ADR panels to issue decrees

   concerning “money damages” or “equitable relief” between private parties. It says only that the

   agency may “promulgate regulations to establish and implement an administrative process[,] …

   including appropriate procedures for the provision of remedies and enforcement of determinations

   made pursuant to such process through mechanisms and sanctions.” 42 U.S.C. § 256b(d)(3). Yet

   the statutory term “appropriate procedures for the provision of remedies” is general and not self-

   defining; it does not specify what remedies are to be made available by the ADR regulations—

   only that they be “appropriate.” And an unconstitutional regulation cannot be an appropriate one.

          248.    Accordingly, the ADR Rule is “in excess of statutory jurisdiction, authority, or

   limitations” and must be set aside. 5 U.S.C. § 706(2)(C).

          249.    Or, at the very least, the Court should construe the statute not to authorize remedies,

   such as private money judgments or equitable relief between private parties, that would render the

   statutory scheme unconstitutional. See, e.g., INS v. St. Cyr, 533 U.S. 289, 299-300 (2001); United

   States v. Orona-Ibarra, 831 F.3d 867, 875-76 (7th Cir. 2016).

                                             COUNT VIII
                           (Violation of the Administrative Procedure Act
                              Failure to Provide Notice and Comment)

          250.    Lilly re-alleges and incorporates the allegations in the preceding paragraphs of this

   complaint.




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          251.    The APA provides that “[a] person suffering legal wrong because of agency action,

   or adversely affected or aggrieved by agency action within the meaning of a relevant statute, is

   entitled to judicial review thereof.” 5 U.S.C. § 702.

          252.    The APA further provides that a reviewing court shall “hold unlawful and set aside

   agency action, findings, and conclusions found to be … without observance of procedure required

   by law.” Id. § 706(2)(D).

          253.    To issue a valid legislative rule (such as the ADR Rule), an agency must comply

   with the APA’s rigorous notice-and-comment procedures. See id. § 553(b).

          254.    Defendants did not do so in promulgating the ADR Rule.

          255.    That Defendants provided notice-and-comment through the 2016 NPRM does not

   absolve their failure to do so in 2020. That is because Defendants withdrew the NPRM on August

   1, 2017, and took no subsequent action on the rule before announcing that it was being resurrected

   with significant changes. The decision to withdraw had black-letter consequences, as it put

   regulated parties on notice that, rather than intending on continuing with the rulemaking process,

   the agencies had “[chosen] the status quo” of non-regulation. Ctr. for Auto Safety v NHTSA, 710

   F.2d 842, 746 (D.C. Cir 1983); cf. Cierco v. Lew, 190 F. Supp. 3d 16, 25 (D.D.C. 2016)

   (withdrawal of NPRM left challenger to notice with no relief), aff’d on other grounds sub nom.

   Cierco v. Mnuchin, 857 F.3d 407 (D.C. Cir. 2017). Put another way, if the purpose of notice-and-

   comment is “to put interested parties on notice that Administrative rulemaking in certain areas is

   about to take place,” Nat’l Tour Brokers Ass’n v. United States, 591 F.2d 896, 989 (D.C. Cir.

   1978), the withdrawal put regulated parties on notice that rulemaking would not occur. Thus, in

   order to promulgate an ADR rule, Defendants needed to engage in notice and comment again.




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          256.    That is all the more true given that, in the intervening four years, much changed

   about the 340B Program and stakeholder understandings and expectations, such that the comments

   provided and agency considerations would have been different in 2020 than they were in 2016.

   As the Pharmaceutical Research and Manufacturers of America (“PhRMA”), which represents the

   country’s leading biopharmaceutical researchers and biotechnology companies, explained in its

   recent petition for rulemaking, the 340B Program has become increasingly and unsustainably

   plagued by material compliance issues over the past few years. See Exh. O; see also GAO, HHS

   Uses Multiple Mechanisms to Help Ensure Compliance with 340B Requirements, No. GAO-21-

   107 (Dec. 14, 2020) (admitting that HRSA lacks sufficient enforcement authority to deal with

   contract pharmacy abuses of the Program). Yet defendants took precisely none of that into account

   when they dusted off the old NPRM and issued an altered version of it late last year.

          257.    While Defendants stated in the ADR Rule that the NPRM was not actually

   withdrawn, that position is unpersuasive, inadequately explained, and nakedly pretextual.

   According to Defendants, they merely froze the proposal pursuant to President Trump’s regulatory

   freeze memorandum. But that argument is facially and fundamentally flawed: On its face, the

   memorandum does not apply to rules promulgated to meet statutory deadlines, such as the ADR

   rule. In any event, had Defendants believed (wrongly) that the memorandum did apply to their

   NPRM, they would have withdrawn that NPRM “immediately,” as the memorandum directed; in

   reality, however, they did not. That is the end of the matter: Courts are not required to defer to

   agency explanations where “the evidence tells a story that does not match the explanation the

   [agency] gave for [its] decision.” Dep’t of Commerce v. New York, 139 S. Ct. 2551, 2575 (2018).

          258.    That Defendants’ explanation is pretextual becomes all the more clear when it is

   juxtaposed with Defendants’ own actions, which confirm beyond doubt that the NPRM was indeed




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   withdrawn. Defendants withdrew the rule from the Unified Agenda in August 2017 and did not

   relist the NPRM on the agenda until the finalized rule appeared. See Office of Info. & Reg. Affairs:

   Reginfo.gov, Final Rule: RIN 0906-AB26 (Fall 2020), https://bit.ly/39cOomV.            Meanwhile,

   Defendants HRSA expressly told the public that it had no intention of publishing an ADR in the

   near future. These actions not only underscore that the rule announced in the NRPM was

   withdrawn, but also confirm that Defendants’ actions in the lead-up to the eleventh-hour

   promulgation put manufacturers on notice that no rulemaking would imminently take place.

          259.    Finally, the agency’s withdrawal is further evidenced by the fact that the NPRM

   and the final rule have different RINs. The NPRM, published at 81 Fed. Reg. 53,381, has a RIN

   of 0906-AA90. The final Rule, however, has a RIN of 0906-AB26. A RIN is given to a regulatory

   action when that action is entered into the rulemaking database, and a regulatory action retains the

   same RIN throughout the entire rulemaking process so that interested parties can monitor its

   progress. On information and belief, if the rule had not been withdrawn, then the ADR Rule and

   NPRM would have matching RINs. But they do not, confirming that the NPRM was withdrawn.

          260.    Because Defendants did not proceed through notice-and-comment rulemaking after

   the NPRM’s withdrawal, as the APA required, the final ADR Rule must be set aside.

          261.    In any event, the agency never provided affected parties with the opportunity to

   comment on several provisions that appear in the ADR Rule but that were absent from, and do not

   logically grow from, the original NPRM. The NPRM did not mention, let alone elaborate upon,

   any suggestion that the agency intended to give ADR panels the authority to issue binding

   judgments for money damages, the as-yet-unspecified equitable relief mentioned in the Final Rule,

   or that their decisions would be “precedential.” Thus, even if the NPRM had not been withdrawn,




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   the ADR Rule would violate the APA’s notice-and-comment requirement because the final rule is

   not a “logical outgrowth” of the NPRM.

          262.    A final rule is a “logical outgrowth” of a proposed rule only if interested parties

   “‘should have anticipated’ that the change was possible, and thus reasonably should have filed

   their comments on the subject during the notice-and-comment period.” Ne. Md. Waste Disposal

   Auth. v. EPA, 358 F.3d 936, 952 (D.C. Cir. 2004). “If a ‘final rule deviates too sharply from the

   proposal, affected parties will be deprived of notice and an opportunity to respond to the

   proposal,’” and the agency accordingly must undergo notice-and-comment again. Public Citizen,

   Inc. v. Mineta, 427 F. Supp. 2d 7 (D.D.C. 2006) (quoting AFL-CIO v. Donovan, 757 F.2d 330, 338

   (D.C. Cir. 1985)). For the reasons explained above, the addition of these provisions concerning

   ADR panels’ power to issue money-judgment and equitable decrees, and the decision to ascribe

   them precedential force, raise important questions of constitutional and statutory interpretation

   about which the public had no opportunity to present its views. None of these provisions grows

   out of the NPRM’s original language—and indeed, the final Rule does not even acknowledge that

   this language is new, much less provide a reasoned explanation for its inclusion. Accordingly,

   because no manufacturer could “divine [the Agency’s] unspoken thoughts” on this issue, Ariz.

   Pub. Serv. Co. v. EPA, 211 F.3d 1280, 1299 (D.C. Cir. 2000) (citation omitted), the Rule is not a

   logical outgrowth, and further invalid.

                                             COUNT IX
                           (Violation of the Administrative Procedure Act
                             Arbitrary and Capricious Agency Action)

          263.    Lilly re-alleges and incorporates the allegations in the preceding paragraphs of this

   Complaint.




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          264.    Under the APA, a reviewing court shall “hold unlawful and set aside agency action,

   findings, and conclusions found to be … arbitrary, capricious, an abuse of discretion, or otherwise

   not in accordance with law.” 5 U.S.C. § 706(2)(A).

          265.    Agency action is arbitrary and capricious if the agency fails to “examine the

   relevant data and articulate a satisfactory explanation for its action including a ‘rational connection

   between the facts found and the choice made.’” Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State

   Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (citation omitted). “Normally, an agency rule

   would be arbitrary and capricious if the agency has relied on factors which Congress has not

   intended it to consider, entirely failed to consider an important aspect of the problem, offered an

   explanation for its decision that runs counter to the evidence before the agency, or is so implausible

   that it could not be ascribed to a difference in view or the product of agency expertise.” Id.

          266.    The ADR Rule is substantively arbitrary and capricious in several respects.

          267.    As an initial matter, the Rule fails to account for changed legal circumstances in

   the years since it withdrew the rule (or, at the very least, since the notice-and-comment period

   ended). Since notice and comment ended nearly four years ago, not only has the Supreme Court

   clarified its Appointments Clause jurisprudence, but it recently granted certiorari on an issue nearly

   identical to the one presented in this complaint, i.e., whether Article II officers with a suite of

   powers and functions very similar to ADR panelists are principal officers whose non-Presidential

   appointment violates the Constitution. See United States v. Arthrex Inc., 141 S. Ct. 549, cert.

   granted (U.S. Oct. 13, 2020) (No. 19-1434). If the Court answers that question in the affirmative,

   then the ADR Rule cannot stand. But even without a definitive ruling from the Court, the ADR

   Rule still does not pass muster because it does not contain any explanation, let alone a reasoned

   one, as to how the ADR process comports with the changed legal landscape after Lucia. See, e.g.,




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   Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania, 140 S. Ct. 2367, 2384 (2020)

   (an agency is “susceptible to claims that the rules were arbitrary and capricious for failing to

   consider an important aspect of the problem” if its rules do not account for legal developments).

          268.    The same is true with respect to the Article III concerns raised herein. The ADR

   Rule does not even acknowledge, let alone attempt to justify, how a process that affords Executive

   Branch employees full adjudicative powers, including the ability to exercise common-law

   interpretive authority and the power to issue binding money judgments or equitable relief touching

   private property, without being subject to an Article III court’s plenary control, could be

   constitutional. Here, too, the agency has failed to grapple with an important aspect of the problem.

          269.    These are hardly the only examples of the agency’s reliance on a stale record.

   PhRMA’s petition for rulemaking (Exh. O) raised a host of concerns with the Program that had

   come to the fore in the intervening four years. Yet Defendants did not even acknowledge

   PhRMA’s petition or the concerns PhRMA had raised. That failure to consider new information

   shows the ADR Rule is not “based on a consideration of the relevant factors and [that] there has

   been a clear error of judgment.” Nader v. FCC, 520 F.2d 182, 192 (D.C. Cir. 1975) (quoting

   Citizens to Preserve Overton Park v. Volpe, 410 U.S. 402, 416 (1971)); see NRDC v. Herrington,

   768 F.2d 1355, 1408 (D.C. Cir. 1985) (“Whether or not DOE acted reasonably in issuing rules in

   1982 and 1983 based on 1980 information, we think it would be patently unreasonable for DOE

   to begin further proceedings in the last half of 1985 based on data half a decade old.”).

          270.    The Rule is likewise arbitrary and capricious because Defendants failed to explain

   the reasons for choosing the structure for administrative dispute resolution established by the Rule.

   As manufacturers explained in comment letters, the ADR panel would likely be staffed by many

   of the same individuals responsible for creation and implementation of HRSA policy. Because




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   these individuals serve in other administrative functions, they are likely to hold biases, policy

   positions, or other objectives outside of the limited facts of the dispute at issue. There are virtually

   no safeguards under the Rule to limit these individuals from bringing their subjective views to bear

   in the ADR process. The ex-officio OPA member only compounds these risks with its potential

   to exert undue influence over the panel.               Defendants’ back-of-the-hand response that

   manufacturers should simply accept Defendants’ say-so that no bias would exist falls far short of

   reasoned decisionmaking. See, e.g., FBME Bank Ltd. v. Lew, 209 F. Supp. 3d 299, 333 (D.D.C.

   2016) (“failing to respond to a comment rises to the level of arbitrariness if it ‘demonstrates that

   the agency’s decision was not based on a consideration of the relevant factors’” (citation omitted));

   see also Kent H. Barnett, Why Bias Challenges to Administrative Adjudication Should Succeed,

   81 MO. L. REV. 1023 (2016) (agency employees exhibit significant bias compared to ALJs).

          271.    The agency’s choice of ADR panelists instead of more independent ALJs is both

   unreasonable and unreasonably explained. The agency claims that the panel structure is reasonable

   because it allows relevant government officials to draw on their expertise. But the lion’s share of

   what panelists do—i.e., hearing evidence, making credibility determinations, applying and

   interpreting the Federal Rules of Evidence and Civil Procedure, and even imposing sanctions—is

   far more analogous to common-law judging and has nothing whatsoever to do with specialized

   agency expertise. The ADR Rule provides that ADR panels will “resolve all issues underlying

   any claim or defense, including, by way of example, those having to do with covered entity

   eligibility, patient eligibility, or manufacturer restrictions on 340B sales that the 340B ADR Panel

   deems relevant for resolving an overcharge, diversion, or duplicate discount claim.” 85 Fed. Reg.

   at 80,636. They are the tasks of judges, familiar to ALJs who likely have the professional

   competence, experience, and independence to conduct an impartial adjudication. Besides that,




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   ADR panel rulings are “precedential” under the Rule, see 42 C.F.R. § 10.24(d), meaning that

   subsequent panels are supposed to uphold a body of existing administrative case law (again, a

   quintessentially judicial task) rather than adapt or alter decisionmaking based on accreted

   expertise. There is, in short, no fit between the problem of whom to appoint as adjudicators and

   the agency’s solution of appointing non-neutral agency employees instead of professional judges.

          272.    In truth, the agency’s evident reason for conferring vast adjudicatory power on non-

   neutral employees rather than professional judges is to come as close as possible to circumventing

   the agency’s lack of any rulemaking authority under the 340B statute. See Orphan Drug I, 43 F.

   Supp. 28. Defendants have no statutory authority to define covered entities to include contract

   pharmacies, as they have recognized repeatedly over the course of two decades. See, e.g., Tom

   Mirga, HRSA Says its 340B Contract Pharmacy Guidance Is Not Legally Enforceable, 340B

   Report (July 9, 2020); 75 Fed. Reg. at 10,273; 61 Fed. Reg. at 43,550. Indeed, it was this very

   lack of regulatory authority that, a mere eight months before issuing the Final Rule, led an HHS

   official to state that the agency could not promulgate an ADR rule. Tom Mirga, HRSA: 340B

   Dispute Resolution Will Stay on Hold Until We Get Broader Regulatory Authority, 340B Report

   (Mar. 12, 2020), https://bit.ly/3651i5z. Now, however, under the provisions of the ADR Rule,

   agency employees who cannot issue a rulemaking to effectuate their policy views can instead issue

   a “precedential” decision to set a prospective rule of decision for ADR panels.

          273.    The rule is also arbitrary and capricious because it fails to address Lilly’s (and other

   manufacturers’) concerns regarding Defendants’ outdated and burdensome auditing guidelines.

   Though the Final Rule acknowledged that numerous commenters had raised this issue, it gave

   them short shrift, in a conclusory manner and without explanation that “updated manufacturer

   audit guidelines” are not “needed to finalize the ADR process” and that ADR panels can




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   “determine when there have been statutory violations concerning overcharges, diversion, and

   duplicate discounts.” 85 Fed. Reg. at 80,633. This sort of ipse dixit response to serious comments

   striking at the heart of the fairness and unbiased nature of the ADR process does not satisfy

   arbitrary-and-capricious review. See Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 97 (2015) (“An

   agency must consider and respond to significant comments received during the period for public

   comment.”); see also, e.g., Transmission Agency of N. Cal. v. FERC, 628 F.3d 538, 543-44 (D.C.

   Cir. 2010) (noting that an agency “must respond to objections and address contrary evidence in

   more than a cursory fashion.”); NorAm Gas Transmission Co. v. FERC, 148 F.3d 1158, 1165 (D.C.

   Cir. 1998) (“[T]he Commission’s dismissive treatment of [an] objection, which was hardly a

   response at all, was not the product of a reasoned decisionmaking process.”).

          274.    Finally, Defendants’ failure to make any adjustments in the wake of their three-year

   silence renders the rule arbitrary and capricious. Both the NPRM and the ADR Rule provide that

   a covered entity has three years to bring a claim. So as things currently stand, a covered entity has

   the ability to seek redress for claims occurring throughout the entire three-year period that the Rule

   was withdrawn, during which time manufacturers ordered their businesses under the understanding

   that no formalized ADR process was imminent. At the very least, the Rule should have considered

   and implemented timeframes that reflect the manifest unfairness of subjecting parties to binding

   money judgments when they had no reason to expect that such liability would arise.

          275.    For all of these reasons, the ADR Rule is “arbitrary, capricious, an abuse of

   discretion, or otherwise not in accordance with law” and must be set aside. 5 U.S.C. § 706(2)(A).




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   III.   Claims Regarding the May 17 Letter

                                              COUNT X
                           (Violation of the Administrative Procedure Act
                                   Exceeding Statutory Authority)

          276.    Lilly re-alleges and incorporates the allegations in the preceding paragraphs of this

   Complaint.

          277.    Under the APA, a reviewing court shall “hold unlawful and set aside agency action”

   that is “in excess of statutory jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2)(C).

          278.    The 340B statute does not confer on Defendants the authority to require Lilly, on

   pain of penalty, to offer drugs to contract pharmacies at 340B prices, as contract pharmacies are

   not covered entities and Defendants have no authority to require manufacturers to offer discounts

   to any other type of entity. See Pharm. Research & Mfrs. of Am., 43 F. Supp. 3d at 31, 39-40.

   Indeed. the 340B statute is does not include a “broad, expansive rulemaking authority[,]” but rather

   is a “specific grant[] of authority” that simply does not extend so far as to allow HHS to require

   manufacturers to give discounts to any entity apart from a statutorily defined covered entity. See

   id.

          279.    The 340B statute obligates manufacturers to offer drugs to covered entities—a

   defined term that does not include contract pharmacies. 42 U.S.C. § 256b(a)(1). And because

   Congress listed the entities intended to participate in the 340B Program in the definition of covered

   entity, the addition of contract pharmacies as a new category of recipients of covered outpatient

   drugs at 340B discount prices is prohibited. See, e.g., Ethyl Corp., 51 F.3d at 1061 (“[M]ention of

   one thing implies exclusion of another thing.”).

          280.    Similarly, Defendants have no authority to create, through guidance and certainly

   not through an enforcement action, an exception to the prohibition on diversion to any entity that

   is not a patient of the 340B covered entity under the statute.


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          281.    Defendants likewise have no authority to broaden the scope of the 340B statute to

   effectively expand the statutory term “covered entities” and extend it to contract pharmacies or to

   transactions in which covered entities do not themselves “purchase” covered outpatient drugs, as

   they purport to do in the May 17 Letter.

          282.    Accordingly, the May 17 Letter is “in excess of statutory jurisdiction, authority, or

   limitations” and must be set aside. 5 U.S.C. § 706(2)(C).

                                           COUNT XI
                         (Violation of the Administrative Procedure Act
            Contrary to the Fifth Amendment to and Article I of the U.S. Constitution)

          283.    Lilly re-alleges and incorporates the allegations in the preceding paragraphs of this

   Complaint.

          284.    The APA provides that a reviewing court shall “hold unlawful and set aside agency

   action, found to be … contrary to constitutional right, power, privilege, or immunity.” 5 U.S.C.

   § 706(2)(B).

          285.    The Takings Clause of the Fifth Amendment provides:            “[N]or shall private

   property be taken for public use, without just compensation.” U.S. Const. amend V.

          286.    The Takings Clause is not limited to instances where the government physically

   appropriates property for its own use through eminent domain. Rather, a taking can occur through

   legislation and regulation that sufficiently deprives a user of his property rights. Squires-Cannon,

   897 F.3d at 798. As the Supreme Court has long recognized, “while property may be regulated to

   a certain extent, if regulation goes too far it will be recognized as a taking.” Penn. Coal Co., 260

   U.S. at 415; see also, e.g., Lingle, 544 U.S. at 537; Squires-Cannon, 897 F.3d at 798.

          287.    The Takings Clause extends to both real and personal property. “The Government

   has a categorical duty to pay just compensation when it takes your car, just as when it takes your

   home.” Horne, 576 U.S. at 358. Confiscatory regulations that mandate the transfer of personal


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   property from one private party to another private party therefore amount to an unconstitutional

   taking with or without just compensation. Id.; see E. Enters., 524 U.S. at 529.

          288.    A taking may be found based on “several factors,” including “the economic impact

   of the regulation, its interference with reasonable investment backed expectations, and the

   character of the governmental action.” Kaiser Aetna, 444 U.S. at 175. However, takings claims

   are inherently fact-intensive, and the ultimate question is whether the government has “forc[ed]

   some people alone to bear public burdens, which, in all fairness and justice, should be borne by

   the public as a whole.” Davon, 75 F.3d at 1127 (quoting Armstrong, 364 U.S. at 49).

          289.    Defendants’ decision to mandate that Lilly provide contract pharmacies with 340B-

   priced drugs, or to require reimbursements for transactions in which covered outpatient drugs are

   not “purchased” by covered entities, is an exceedingly clear example of such a confiscatory

   regulation. In no uncertain terms, it forces Lilly to transfer its property, in the form of the drugs it

   manufactures, to contract pharmacies at a devastating financial loss. See E. Enters., 524 U.S. at

   529 (plurality op.) (evaluating economic impact as a prime factor for assessing whether a taking

   has occurred); Penn Central Transp. Co., 438 U.S. at 124 (similar).

          290.    Under the May 17 Letter, which forces Lilly to offer discounts to an ever-growing

   number of contract pharmacies, Lilly stands to lose significant sums of money in both the short

   and long terms. The requirement reflected in the Letter that Lilly offer discounts to contract

   pharmacies, on pain of severe penalty, is therefore unconstitutional, as “the ‘power to regulate is

   not a power to destroy.’” In re Permian Basin Area Rate Cases, 390 U.S. at 769 (quoting Stone,

   116 U.S. at 331); accord, e.g., Ames, 64 F. at 186-89 (Brewer, J.).

          291.    The May 17 Letter is especially galling—and constitutionally suspect—because it

   does not seek to use the confiscated property for a public use, as required by the Fifth Amendment.




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   See Horne, 576 U.S. at 371. Rather, it forces Lilly and other manufacturers to transfer their

   property to other private entities, many (if not most) of which are large and lucrative corporate

   pharmacies such as Walgreens and CVS, so that such entities can maximize their profits. The

   conclusion that manufacturers must offer discounts on all covered outpatient drugs to an unlimited

   number of contract pharmacies thus amounts to no more than “a naked transfer of property from

   private party A to B solely for B’s private use and benefit.” Carole Media, 550 F.3d at 311.

          292.    Such a regulation cannot be reconciled with the Fifth Amendment. “[I]t has long

   been accepted that the sovereign may not take the property of A for the sole purpose of transferring

   it to another private party B, even though A is paid just compensation.” Kelo, 545 U.S. at 477; see

   also Calder, 3 U.S. (3 Dall.) at 388 (op. of Chase, J.) (the legislature has no power to enact “a law

   that takes property from A. and gives it to B”); Reagan, 154 U.S. at 399, 410 (similar). Indeed,

   such private takings are always unconstitutional, “since [n]o amount of compensation can

   authorize such action.” Lingle, 544 U.S. at 543; see also Coniston Corp., 844 F.2d at 464. As “[a]

   purely private taking,” the May 17 Letter “serve[s] no legitimate purpose of government” and is

   therefore “void.” Midkiff, 467 U.S. at 245. Accordingly, it must be set aside pursuant to the APA

   as “contrary to constitutional right.” 5 U.S.C. § 706(2)(B).

          293.    Nor can the May 17 Letter be justified if only considered prospectively. Even if

   the Letter applies only to sales made in 2021 and afterward, it would still raise serious

   constitutional concerns given the sheer magnitude of Medicaid and Medicare Part B, participation

   in which Congress has made contingent on participation in the 340B Program (and thus on offering

   covered outpatient drugs to all covered entities at no more than the ceiling price established

   pursuant to the 340B statute). See Elrod, 427 U.S. at 361 (plurality op.) (“The denial of a public




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   benefit may not be used by the government for the purpose of creating an incentive enabling it to

   achieve what it may not command directly.”).

          294.    The unconstitutional conditions doctrine “vindicates the Constitution’s enumerated

   rights by preventing the government from coercing people into giving them up” to obtain a benefit,

   such as the ability to participate in a government program. Koontz, 570 U.S. at 604; see also

   Packard, 741 F.2d at 988 (“The ‘unconstitutional conditions’ doctrine is premised on the notion

   that what a government cannot compel, it should not be able to coerce.”). This includes the rights

   to retain one’s own personal (or business) property unless properly taken by the government. See

   Dolan, 512 U.S. at 385; Nollan, 483 U.S. at 837. The doctrine accordingly “forbid[s] the

   government from engaging in ‘out-and-out … extortion’ that would thwart the Fifth Amendment”

   by coercing private parties, on pain of losing a government benefit, into relinquishing their

   property without proper compensation. Koontz, 570 U.S. at 606 (alteration in original) (quoting

   Nollan, 483 U.S. at 837).

          295.    The May 17 Letter effectively forces Lilly to provide steep discounts to an endless

   number of for-profit contract pharmacies—even though the latter rarely, if ever, pass along the

   340B discounts to the patients whom the Program is designed to serve—or else forego huge

   amounts of revenue pursuant to Medicaid and Medicare Part B.

          296.    The May 17 Letter thus imposes a previously nonexistent condition that directly

   contravenes the unconstitutional conditions doctrine. Indeed, it has all the hallmarks of an

   “[e]xtortionate demand[].” Id. at 605. If Lilly wishes to continue participating in Medicaid, it

   must forfeit its constitutional “right not to have property taken without just compensation,” id. at

   607, and agree to provide 340B prices to limitless contract pharmacies. If it refuses, Lilly would

   become unable to contract with one of the largest insurance programs in the country, under which




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   approximately 70 million Americans receive insurance. Cf. NFIB, 567 U.S. at 581 (striking down

   use of Spending Power because “the financial ‘inducement’ Congress [ ] chose[] is much more

   than ‘relatively mild encouragement’—it is a gun to the head”).

          297.    At the very least, the broad reading of the 340B statute that is required in order for

   the May 17 Letter to be within Defendants’ statutory authority raises serious constitutional

   concerns. In effect, by eviscerating the “covered entity” requirement, it would give Defendants

   the ability to confiscate property from private drug manufacturers whenever it sees fit, and to grant

   rights to that property to whomever it sees fit. The canon of constitutional avoidance weighs

   heavily against such a reading. See, e.g., St. Cyr, 533 U.S. at 299-300.

                                             COUNT XII
                           (Violation of the Administrative Procedure Act
                             Arbitrary and Capricious Agency Action)

          298.    Lilly re-alleges and incorporates the allegations in the preceding paragraphs of

   this Complaint.

          299.    Under the APA, a reviewing court shall “hold unlawful and set aside agency action,

   findings, and conclusions found to be … arbitrary, capricious, an abuse of discretion, or otherwise

   not in accordance with law.” 5 U.S.C. § 706(2)(A).

          300.    The May 17 Letter is arbitrary and capricious for all of the same reasons that the

   December 30 Decision is arbitrary and capricious. The letter does not even attempt to reconcile

   this newfound obligation with the text of the statute; does not acknowledge, let alone sufficiently

   address, the myriad and far-ranging abuses contract pharmacy arrangements have facilitated; and

   is fundamentally incompatible with the government’s earlier pronouncements that manufacturers

   were under no legally enforceable obligation to offer 340B prices to contract pharmacies

          301.    But the May 17 letter is arbitrary and capricious in several additional ways. First,

   Defendants did not even attempt to reconcile its reasoning—and its extension of the purported


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   obligations it imposes beyond contract pharmacies allegedly acting as “agents” of covered

   entities—with the December 30 Decision. The May 17 Letter conspicuously makes no mention

   of the “agency” theory the government had defended and relied on in its brief before this Court

   filed only 28 days before HRSA sent the May 17 Letter. This violates the fundamental premise of

   administrative law that an administrative agency must at least demonstrate awareness that it is

   changing its position. See Fox Television Stations, Inc., 556 U.S. at 515; Encino Motorcars, 136

   S. Ct. at 2126. HRSA failed to even acknowledge that it had previously advanced an “agency”

   theory justifying Lilly’s purported obligations to provide 340B discounts to contract pharmacy

   transactions or that the May 17 Letter drops the previously announced “agency” limitation, much

   less explain the reasoning behind this change. The May 17 Letter therefore arbitrarily and

   capriciously fails to explain Defendants’ change in policy.

          302.    The May 17 Letter is also arbitrary and capricious because it was not “both

   reasonable and reasonably explained.” Multicultural Media, Telecom & Internet Council v. Fed.

   Commc’ns Comm’n, 873 F.3d 932, 937 (D.C. Cir. 2017). The May 17 Letter, like the December

   30 Decision, relies on the statutory provision stating that a manufacturer “shall … offer each

   covered entity covered outpatient drugs for purchase at or below the applicable ceiling price if

   such drug is made available to any other purchaser at any price.” Exh. P at 1 (quoting section

   340B(a)(1) of the Public Health Service Act, Pub. L. No. 102-585, Title VI, § 602(a), 106 Stat.

   4943, 4967 (1992)). It also claims that manufacturers have been under this obligation since the

   agency first issued its 1996 guidance on contract pharmacies. Id. Yet Defendants never explain

   how the statutory “must offer” language could have created this obligation when it was not added

   to the statute until 2010.     Nor does the Letter account for Defendants’ multiple prior

   pronouncements that they lack authority to impose any such obligation on manufacturers. Such a




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   failure to offer even a plausible explanation of its statutory construction, or to explain (let alone

   account for) Defendants’ abrupt change in position, is arbitrary and capricious.

                                             COUNT XIII
                           (Violation of the Administrative Procedure Act
                              Failure to Provide Notice and Comment)

          303.    Lilly re-alleges and incorporates the allegations in all of the preceding paragraphs

   of this Complaint.

          304.    Under the APA, a reviewing court shall “hold unlawful and set aside agency action”

   that is “in excess of statutory jurisdiction, authority, or limitations.” 5 U.S.C. § 706(2)(C).

          305.    The May 17 Letter constitutes “final agency action for which there is no other

   adequate remedy,” id. § 704, and Lilly has exhausted all of its available administrative remedies

   and/or pursuit of any further administrative remedies would be futile. See Sackett, 566 U.S. at

   125–27.

          306.    The May 17 Letter definitively “determine[s]” that Lilly “must immediately begin

   offering its covered outpatient drugs at the 340B ceiling price” to contract pharmacy purchases,

   and not just covered entity purchases. Exh. P at 1-2. It plainly embodies a legislative rule under

   the APA because it is an “agency statement of general or particular applicability and future effect

   designed to implement, interpret, or prescribe law.” 5 U.S.C. § 706(2)(C). It therefore constitutes

   a legislative rule under the APA, because it creates and announces obligations with which Lilly

   must comply, on pain of “CMP[s] not to exceed $5,000 for each instance of overcharging” and

   expulsion from the 340B Program. Exh. P at 2.

          307.    To determine whether an agency has issued a legislative rule, courts inquire into

   the effect of the rule on the agency itself and on regulated parties. No matter how labeled, agency

   action is a legislative rule if it has binding effect—i.e., it has not “genuinely [left] the agency …

   free to exercise discretion” and instead binds the agency to a particular legal policy position.


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   Clarian Health W., LLC v. Hargan, 878 F.3d 346, 357 (D.C. Cir. 2017); see also, e.g., U.S. Tel.

   Ass’n v. FCC, 28 F.3d 1232, 1234 (D.C. Cir. 1994). Where “[a]n agency action … purports to

   impose legally binding obligations or prohibitions on regulated parties” and “violations of those

   obligations or requirements” “would be the basis for an enforcement action,” it “is a legislative

   rule.” Nat’l Min. Ass’n v. McCarthy, 758 F.3d 243, 251 (D.C. Cir. 2014).

          308.    HHS and HRSA insisted throughout 2020 in multiple public statements that neither

   the 1996 nor 2010 contract pharmacy guidance created enforceable obligations that could form the

   basis of an enforcement action against a manufacturer that declined to provide 340B discounts on

   contract pharmacy sales. The May 17 Letter, by contrast, clearly creates enforceable obligations

   under the 340B statute—either comply by June 1 or risk CMPs and other sanctions—and it clearly

   operates from the premise that Lilly is bound to comply with the position announced in this letter.

          309.    Defendants needed to comply with the APA’s notice-and-comment procedures in

   order to (attempt to) enshrine these new obligations. Because they did not do so before issuing

   either the December 30 Decision or the May 17 Letter, the May 17 Letter was improperly

   promulgated, as Defendants nevertheless failed to provide public notice of their proposed action

   before issuing the May 17 Letter, and failed to provide the public any opportunity to comment on

   that proposed action.

          310.    The May 17 Letter was accordingly issued “without observance of procedure

   required by law.” 5 U.S.C. § 706(2)(D).

                                       PRAYER FOR RELIEF

          Lilly respectfully prays that this Court:

          a.      issue an order and judgment declaring that Defendants violated the APA in issuing

   the December 30 Decision and May 17 Letter because the December 30 Decision and May 17

   Letter were issued without following proper procedure; are in excess of statutory authority; violate


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  the Constitution; and are arbitrary, capricious, an abuse of discretion and otherwise not in

  accordance with law;

         b.      issue an order and judgment declaring that Defendants lack the authority to require

  Lilly to offer or give 340B discounts to contract pharmacies or on purchases made by contract

  pharmacies;

         c.      preliminarily and permanently enjoin implementation and/or enforcement of the

  December 30 Decision and May 17 Letter;

         d.      issue an order and judgment declaring that Defendants violated the APA in issuing

  the ADR Rule because the ADR Rule was issued without following proper procedure; is in excess

  of statutory authority; violates the Constitution; and is arbitrary, capricious, an abuse of discretion

  and otherwise not in accordance with law;

         e.      preliminarily and permanently enjoin implementation and/or enforcement of the

  ADR Rule;

         f.      award Lilly costs and reasonable attorneys’ fees, as appropriate; and

         g.      grant any other relief the Court deems just and appropriate.




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  Dated: May 27, 2021               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 27, 2021, a copy of the foregoing was filed electronically.

  Service of this filing will be made on all ECF-registered counsel by operation of the court’s

  electronic filing system. Parties may access this filing through the court’s system.



                                                       /s/ John C. O’Quinn
                                                       John C. O’Quinn




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